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 Robert J. Lack
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 One Gateway Center, 25th Floor
 Newark, NJ 07102-5311
 (973) 877-6400
 Attorneys for Plaintiffs


                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY

 ----------------------------------------------------------------x
                                                                 :
 DEUTSCHE BANK TRUST COMPANY                                     :
 AMERICAS, in its capacity as successor indenture :
 trustee for certain series of Senior Notes, et al.,             :   Civil Action No. 11-3148 (WJM)(JAD)
                                                                 :
                                     Plaintiffs,                 :
                                                                 :
                   - v. -                                        :   NOTICE OF PLAINTIFFS’
                                                                 :   MOTION TO STAY
 MERRILL LYNCH TRUST COMPANY,                                    :
 A DIVISION OF BANK OF AMERICA, N.A.,                            :
 et al.,                                                         :   Motion Day: August 1, 2011
                                                                 :
                                     Defendants.                 :
                                                                 :
 ----------------------------------------------------------------x


                  PLEASE TAKE NOTICE that on August 1, 2011, or as soon thereafter as counsel

 may be heard, the undersigned attorneys for plaintiffs Deutsche Bank Trust Company Americas,

 Law Debenture Trust Company of New York, and Wilmington Trust Company, in their capacity

 as successor indenture trustees (collectively, “Plaintiffs”), shall move this Court for an Order

 staying the time for the defendants to answer or otherwise respond to the Complaint in this action

 and requiring each defendant to enter an appearance in this action.



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                PLEASE TAKE FURTHER NOTICE that, in support of this motion, Plaintiffs

 shall rely upon the declaration of Hal Neier, dated June 30, 2011, and the accompanying

 memorandum of law.

                WHEREFORE, Plaintiffs respectfully request that the Court enter the attached

 proposed order granting the following relief and all such other relief as the Court deems proper:

                1.      Ordering that defendants’ time to answer or otherwise respond to the

 Complaint in this action be stayed until the earliest of (a) October 31, 2011, (b) order by the

 United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) in In re

 Tribune Co., No. 08-13141 (KJC), confirming a plan of reorganization, or (c) further Order of

 the Bankruptcy Court or this Court;

                2.      Ordering that any applicable deadlines under Federal Rules of Civil

 Procedure 23 or 26 or Local Civil Rule 26.1 will also be held in abeyance during the pendency of

 the stay;

                3.      Ordering that notwithstanding the pendency of the stay in this Court,

 (i) Plaintiffs may (a) amend the Complaint or move for leave to amend the Complaint;

 (b) voluntarily dismiss this action or one or more defendants pursuant to Federal Rule of Civil

 Procedure 41; (c) move to add or drop a party or to sever any claim against a party pursuant to

 Federal Rule of Civil Procedure 21; (d) move to consolidate and/or coordinate this action with

 any other action, without limitation, by making a motion pursuant to 28 U.S.C. § 1407 and the

 applicable Rules of Procedure of the U.S. Judicial Panel on Multidistrict Litigation, or any

 applicable state rules; (e) file a motion pursuant Federal Rule of Civil Procedure 26(d)(1) seeking

 preconference discovery to confirm that parties have been properly identified, named, and served

 in this action; and (f) file a motion seeking modification of this Order; and (ii) defendants may

 file responses to any motions Plaintiffs make pursuant to this provision of the Order;

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                4.      Ordering that notwithstanding the stay, all defendants or their counsel are

 required to enter an appearance in this case within 30 days after the later of entry of the Order or

 service of the Complaint upon the defendant, without prejudice to any defenses that defendant

 may have;

                5.      Ordering that notwithstanding the stay, any defendant who was not

 provided with notice of Plaintiffs’ motion prior to entry of the Order, because such defendant had

 not yet been served with the Complaint or appeared in the action, may move this Court at any

 time to vacate or modify the Order upon notice to Plaintiffs and all other defendants in this

 action; and

                6.      Ordering that at such time as the stay is lifted or terminates, this Court

 shall set the schedule for answering or otherwise responding to the Complaint, unless the action

 has been transferred to another court for coordinated pretrial proceedings.

 Dated: Newark, New Jersey
        July 5, 2011

                                              Respectfully submitted,

                                              FRIEDMAN KAPLAN SEILER &
                                                ADELMAN LLP


                                              s/ Robert J. Lack
                                              Robert J. Lack
                                              Amy C. Brown
                                              Ricardo Solano Jr.
                                              Timothy M. Haggerty
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 TO:

 Merrill Lynch Trust Company
 A Division of Bank of America, N.A.
 101 Hudson St., #8
 Jersey City, NJ 07302

 Merrill Lynch Trust Company
 Trustee of Mine Scribante Crut-Sanibel Captiva
 101 Hudson St., #8
 Jersey City, NJ 07302

 ML Equity Index Trust
 101 Hudson St., # 8
 Jersey City, NJ 07302

 ML Large Capitalization In
 101 Hudson St., # 8
 Jersey City, NJ 07302

 Nondima Chicago Comm. Foundation – FitzSimons
 Attn. Stacie Morena
 P.O. Box 1524
 Pennington, NJ 08534-0725

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 Newark, NJ 07102

 Prudential Insurance Co. of America (PDI)
 751 Broad Street
 Newark, NJ 07102-3771

 Prudential Insurance Co. of America (PMFIM)
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 Prudential Investment Management Inc.
 2 Gateway Center
 Newark, NJ 07102

 Prudential Retirement Insurance and Annuity Co.
 751 Broad St.
 23rd Floor
 Newark, NJ 07102



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 Wilmington Fiduciary Trust Services Co.
 (f/k/a UBS Fiduciary Trust Co.)
 Collective Investment Trust for Employee Benefit Plans
 803 Plaza Three
 Jersey City, NJ 07311-1112




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                                                                  APPEARANCES:
                                                                  (Continued)
            IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE DISTRICT OF DELAWARE                      For Morgan Stanley:          Barnes & Thornburg
                                                                                               BY: DAVID POWLAN, ESQ.
IN RE:                        )    Case No. 08-13141(KJC)                                      11 South Meridian Street
                              )                                                                Indianapolis, IN 46204
                              )                                                                (317) 727-2211
TRIBUNE COMPANY               )    Chapter 11                     For Angelo Gordan/Oaktree/
                              )                                   Credit Agreement Lenders:    Young Conaway Stargatt &
                              )    Courtroom 5                                                 Taylor
                              )    824 Market Street                                           BY: BLAKE CLEARY, ESQ.
           Debtors.           )    Wilmington, Delaware                                        BY: ROBERT BRADY, ESQ.
                              )                                                                The Brandywine Building
                              )    March 22, 2011                                              1000 West Street, 17th Floor
                              )    10:00 a.m.                                                  Wilmington, DE 19801
                                                                                               (302) 571-6600
                  TRANSCRIPT OF PROCEEDINGS                       For Merrill Lynch:           Potter Anderson & Carroon, LLP
         BEFORE THE HONORABLE JUDGE KEVIN J. CAREY
                                                                                               BY: LAURIE SILVERSTEIN, ESQ.
               UNITED STATES BANKRUPTCY JUDGE
                                                                                               Hercules Plaza
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(Continued)                                                       (Continued)

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For Aurelius:                 Akin Gump Strauss Hauer & Feld                                   222 Delaware Avenue, Ste. 1501
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                              Washington, DC 20006                                             Duane Morris
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                                                                                               1100 N. Market St., Ste. 1200
For U. S. Trustee:            United States Trustee                                            Wilmington, DE 19801
                              BY: DAVID KLAUDER, ESQ.                                          (302) 657-4900
                              844 King Street, Ste. 2207          For Employee Compensation
                              Wilmington, DE 19801                Defendants Group:            Frank Gecker, LLP
                              (302) 573-6491                                                   BY: JOSEPH FRANK, ESQ.
                                                                                               325 N. LaSalle St. 625
                                                                                               Chicago, IL 60610
                                                                                               (312)276-1400
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1    R. McCormick Foundation appearing pro hac vice, thank you            1                  THE COURT:    Okay, thank you.

2    very much, Your Honor.                                               2                  MR. GOLDEN:   Your Honor, what I was going to say

3               And just to be clear, although many creditors             3    that I'm not aware of any party disputing the specific

4    file joinders to our objection, I'm here and speaking only           4    question you raised which is when a state representative

5    on   behalf of the foundations.    We don't object that had          5    fails to bring a timely avoidance action is there any real

6    there been no claim brought to avoid these transfers by the          6    dispute that it reverts or individual creditors retain their

7    estate, then the state law constructive law claims would             7    state law rights, I didn't hear counsel suggesting that he

8    have flown back to the individual creditors.     We think that       8    is actually disputing that.       He made the slightly subtle

9    because -- I think the point that Your Honor just raised             9    argument that says when the estate is bringing another cause

10   albeit not in the manner I'd hoped you raise it, that these          10   of action, a similar cause of action, it should deprive the

11   very transfers are being sought to be avoided by these               11   individual state law creditors from having standing to

12   estates and precludes individual creditors from seeking to           12   pursue their claim and they've cited some case law for that

13   avoid them, even under a slightly different theory or even a         13   effect or to that effect.

14   different theory.    It's the same dollars, the same                 14                 Your Honor, that doesn't go to the issue of

15   transfers, you know, consider it a single satisfaction issue         15   whether these claims exist and are they viable and are they

16   if you have to.     To the extent they go forward, they're           16   entitled to be brought by the individual state law

17   necessarily reducing the value of the claims the estate is           17   creditors.     That's a standing issue which I'm going to get

18   bringing because we cannot be made to pay them both.                 18   to.     The standing issue is certainly not an issue for this

19              So with that, I really did not mean to interrupt.         19   Court to decide.

20   I only rose so that you know that there is an issue to that          20                 THE COURT:    I don't disagree with that, but let's

21   extent.                                                              21   -- as much as I don't like to do this sometimes, but I think

22              THE COURT:    So it's your position basically that        22   it may be appropriate here, let's look down the road a

23   the estate would have first call on any proceeds?                    23   little bit.     The objection here is that well, look, we're

24              MR. SIEGER:    I think that's right, Your Honor.     I    24   only going to be required to pay this one time.       So the

25   think the case law supports that.                                    25   question that that raises is how should this Court, if at




                                                                     47                                                                          48


1    all, address the potential conflict between those two sets           1    committee against the Step 1 holders.

2    of plaintiffs.                                                       2                  So what the foundations want is their cake and

3               MR. GOLDEN:    Okay.   Two points I'd like to make        3    eat it, too.     They want to have the DCL plan go forward.

4    with respect to that, Your Honor.                                    4    They want to have the claims, the intentional fraudulent

5               Number one, again, under the heading of                   5    conveyance claims released against the Step 1 holders, but

6    bankruptcy indeed makes strange bedfellows, despite the fact         6    they want to run out the clock so that the individual state

7    that there has been tremendous contentiousness over the two          7    law constructive fraudulent conveyance creditors don't have

8    competing plans, there is a similarity between the two               8    the ability by the state law statute of limitations which as

9    competing plans and that is the establishment of a                   9    we say in our paper, could be as early as June 4, less than

10   creditor's trust in order to house these individual state            10   two and a half months away.       They won't have an effective

11   law constructive fraudulent conveyance claims.     The               11   remedy at that --

12   architects of both of those claims, the debtors, the                 12                 THE COURT:    Well, let's assume that's true.     The

13   creditors' committee, and the lenders on one hand, and the           13   bridge lenders in their proposed form of order suggest that

14   noteholders on the other, have made an informed decision as          14   what ought to happen is that you should be permitted to file

15   other bankruptcy plans have done to allow those claims to            15   complaints, but not prosecute them until after the

16   run in parallel and to prosecute them in parallel.                   16   confirmation process is complete.       Is that something that

17              What the foundations I'll suggest not                     17   you've agreed with or inclined to agree with or disagree

18   intentionally have suggested is because the creditors'               18   with?

19   committee have, in fact, filed intentional, estate                   19                 MR. GOLDEN:   In fact, Your Honor, we said in our

20   intentional fraudulent conveyance claims against the                 20   opening brief, our opening motion, that it was the intention

21   redeeming stockholders, that that should take precedence.            21   of what we called the original plaintiff group, Aurelius,

22   But one problem we have with that is and I think Your Honor          22   the two senior indenture trustees, Wilmington Trust as

23   knows as having sat through two weeks of testimony is it is          23   indenture trustee for the PHONES notes was to, in fact,

24   the intention of DCL plan proponents to release the                  24   commence those lawsuits in order to toll the statute of

25   intentional fraud claims asserted by the creditors'                  25   limitations and that we would voluntarily agree to stay
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1    those actions pending the completion of the competing plan              1    has ever said about you.

2    process.                                                                2    (Laughter)

3               We are not looking to create chaos here.        What we      3                 UNIDENTIFIED SPEAKER:    I made a note of it.

4    are trying to do is to ensure that at the end of the day in             4                 MR. GOLDEN:     So I just want to make sure that the

5    a very uncertain plan process, that these state law                     5    Court fully appreciates the intense time pressure we are

6    constructive fraudulent conveyance claims will survive.          Now    6    working under.    You know better than anybody in this

7    they may be dealt with one way or another depending upon                7    courtroom where we stand on the competing plan process.          It

8    whether the DCL plan is confirmed, or the noteholder plan is            8    is not clear that we will have an answer by June 4.       As we

9    confirmed, or a third version of a plan is confirmed.        But        9    indicated in our pleadings, there are several likely

10   most important is the filing of those complaints so that we             10   jurisdictions in which the state law claims would be

11   can toll the statute of limitations.     So unless Your Honor           11   brought; Illinois, Delaware, Massachusetts.      All of them

12   has any other questions, I'll just continue on, thank you.              12   have four year statute of limitations for claims such as

13              As I said, we believe it is well settled that                13   these.     That four year statute of limitation as it relates

14   once the estate representatives fail to bring the action                14   to Step 1 expires on June 4.       And as I said, the most

15   within two years, it reverts or the individual state law                15   important thing for us to do is to get those things filed.

16   creditors would gain those rights.     It's also we believe             16                Your Honor, I want to turn just for a minute to

17   clear law that once an estate representative can no longer              17   the objections themselves and we've touched upon it a little

18   bring those claims, it has no right to settle those claims.             18   bit.     The McCormick Foundation and I'm going to mispronounce

19   As I said, neither the debtors or the creditors' committee              19   this, the Cantigny, but I'll just call them the foundation

20   opposes relief and is, in fact, as noted by Your Honor, the             20   so I don't continue to muffle that name, have opposed the

21   creditors' committee affirmatively supports the relief in               21   relief.    And they have been joined in that opposition by

22   order to be protective and to acquit their fiduciary, their             22   seven or eight other recipients of the shareholder

23   perceived fiduciary obligations to the general unsecured                23   redemption payments.       A group of three former directors and

24   creditors here.                                                         24   officers of the debtor, a group of seventeen current and

25              THE COURT:   It could be the nicest thing Aurelius           25   former directors, officers, and employees, a fellow named




                                                                        51                                                                          52


1    Crane Kenny who doesn't bother to identify himself, the ever            1    analogous to the situation that we have here.

2    present EGI- TRB and Sam Zell, Bank of America and Merrill              2                 As I have just described to the Court, both the

3    Lynch, two of the four agents and arrangers for the                     3    DCL plan and the noteholder plan contemplates this very

4    disastrous LBO loans, Chandler Bigelow, the current Chief               4    arrangement.     Having the individual state law fraudulent --

5    Financial Officer, and an untimely joinder filed by 200 so              5    constructive fraudulent conveyance claims housed in a

6    called TM retirees which includes William Niese, a member of            6    creditors' trust to be prosecuted on behalf of the

7    the official creditors' committee.     All of those parties             7    individual creditors at the same time the intentional

8    have in common one thing.   Maybe they have more than one               8    fraudulent conveyance claims are being pursued by the estate

9    thing, but one thing they certainly have in common, they                9    under either the DCL plan or the noteholder plan.

10   have received shareholder redemption payments that they want            10                Since the foundations are so concerned about the

11   to avoid having to disgorge back to either the estate or to             11   issue of standing which as I'll get to a second, I think

12   the individual state law creditors.                                     12   really has no place here.       It is not for this Court to

13              It's worth nothing, I think that the foundations             13   adjudicate the standing issue if and when these claims are

14   raise two principal arguments, one we've discussed already              14   actually brought to Trial Court under doctrines of ripeness

15   which is a standing argument.   And they cite a number of               15   will be the correct court in our view to determine the issue

16   cases that suggest when the estate is bringing a similar                16   of standing.     But since they've raised the issue of

17   cause of action, that the -- it deprives the individual                 17   standing, I fail to understand what the standing is of the

18   creditors from standing to bring a separate action.        And          18   foundations who as far as I know are not creditors of these

19   we've addressed those cases in our reply and we actually                19   debtors.     Are no longer shareholders of these debtors.

20   think the case that's most factually analogous to the                   20                So I don't -- I'm not sure I understand how they

21   situation we have here is the Baron Financial Corp, 501                 21   have the right to be heard here in this court to complain

22   F.Supp.2d, F01, District Court of Maryland.     There in that           22   about this rather procedural motion that Aurelius has filed

23   case, there was an agreement between the estate and a                   23   along with the other noteholder proponents seeking very

24   plaintiff seeking to bring similar causes of action that the            24   limited relief.    A, that the filing of such lawsuits would

25   estate had brought or was able to bring.     That's very                25   not violate the automatic stay.       And B, would not violate
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1    Your Honor's mediation order.                                          1    lawsuits filed by June 4.      We don't believe that the

2                  Second point and I'll be brief, Your Honor.       The    2    foundations have standing to oppose this relief.        And

3    foundations raise the 546(e) issue as to whether these type            3    frankly, even if you were to go through the issue of

4    -- whether that statute prohibits state law constructive               4    standing which I think is a mistake as it would violative of

5    fraudulent conveyance claims.      They cite a lot of cases.           5    the Doctrine of Ripeness, the case law that they have

6    They don't cite a single case that stands for the                      6    suggested, I don't believe supports their position.           Thank

7    proposition when someone other than an estate representative           7    you, Your Honor.

8    which is required under 546(e) to be applicable when someone           8                  THE COURT:   Thank you.   Let me hear first from

9    other than an estate representative brings an action, an               9    those who are in support of the motion and then I'll hear

10   avoidance action to recover shareholder payments, there is             10   from those who are opposed.

11   no bar as far as we know and --                                        11                 MR. LEMAY:   Your Honor, excuse me, good morning.

12                 THE COURT:    Well, the argument if I can put it in      12   David LeMay from Chadbourne & Parke for the official

13   my own words is that what you want is -- constitutes an end            13   committee of unsecured creditors.       As a preliminary matter,

14   run around 546(e) and that doesn't seem right to them.                 14   I would not want Your Honor to become irrationally exuberant

15                 MR. GOLDEN:    I understood the argument as well,        15   about the fact that I rise in support of Aurelius' motion or

16   Your Honor.     That --                                                16   about the configuration of the courtroom this morning.           But

17   (Laughter)                                                             17   it is the case that we do support this motion and for the

18                 MR. GOLDEN:    -- actually there is a case in the        18   reasons that Mr. Golden said which is that as a fiduciary

19   District of Delaware.       I think it's PHP Liquidating that          19   matter, it certainly seems that the motion that they've

20   does, in fact, address that issue and stands for the                   20   filed is best calculated to maximize unsecured creditor

21   proposition when it's not an estate representative bringing            21   recoveries.

22   that action, 546(e) loses its applicability.                           22                 Mr. Golden has really very adequately and more

23                 So just to sum up, Your Honor, I think this is           23   than adequately as he always does, summed up the argument.

24   rather mundane procedural relief we're seeking.      It's an --        24   And I think Your Honor is obviously very well seized of it.

25   I don't mean to minimize it, it's important to get these               25   The relief here is procedural and it is -- it's really very




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1    limited in the ways that he described, relief from an order            1    Golden summarized, that I think that first swing doctrine is

2    entered by this Court and from the automatic stay.       The           2    satisfied, the first swing has in effect been had.

3    bondholders have filed that because as Mr. Golden mentions,            3                  And if you want to continue with a baseball

4    there's a June 4 clock ticking.                                        4    metaphor, I guess what that means is the estate

5                  I think Mr. Golden said that there is intense            5    intentionally took the pitch.     At that point, I think the

6    time pressure.     I suppose I would observe that although June        6    Baron case is the one that tells you what happened.           And the

7    4 is not an eternity away, it's not tomorrow either.        And        7    Baron case says that there once the estate's first swing has

8    the time pressure is as I suppose not quite as intense as              8    been had or passed, it does revert to individual creditors.

9    when we dealt with some of the issues prior to the December            9                  I think it would be a fairly serious torturing of

10   two year statute of limitations.      So there is I would say a        10   Ruppert and would require a serious -- fairly serious

11   little bit more time, but here we are on the motion.                   11   torturing of Ruppert to suggest that the dicta in that case

12                 With respect to the objections, I think it's             12   about the objects and purposes of the two claims being the

13   pretty clear that the cases really do in the way that Your             13   same meaning that they must travel together.       I don't really

14   Honor, I think prefigured, all fit together. It's not like             14   think that's what Ruppert was getting at.      Ruppert as I

15   there are two separate sets of cases that go in different              15   mentioned was really about prioritizing of what happens when

16   directions.     You've got the Ruppert case from the Fourth            16   the estate wants to assert the same claims.

17   Circuit and its progeny and that's the famous first swing              17                 Here, instead, what's being said by the

18   case.   The Fourth Circuit said that the purpose there was to          18   foundations and I think Your Honor expressed some skepticism

19   assure that when the estate and individual creditors might             19   about it, quite correct skepticism is that I guess the

20   otherwise be in effect scrumming for the same causes of                20   argument that's being made is that the assertion of

21   action, the estate gets first swing.      And here -- and so           21   intentional fraudulent transfer claims in Federal Court in

22   what that imposes is the notion that while the estate                  22   effect precludes the creditors from pursuing constructive

23   fiduciary is ready and able to pursue a claim, it does get             23   fraudulent transfer claims in State Court.      And I just don't

24   that first right.     But once those claims pass out of the            24   think that can be the case.      And even if it were the case,

25   estate's hands and here they have for the reasons that Mr.             25   as we point out in our papers, the two claims really are not
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1    the same.     There are different pleading elements, different        1    analogy.   And an interesting thing about the end run is that

2    burdens of proof, different recoveries, and of course, most           2    although it can sometimes surprise people, it's a perfectly

3    notably different defenses.                                           3    legal play.     And I don't want to put too much weight on

4                 So even if that Ruppert doctrine or I'm sorry            4    metaphor, but I think it does tell us something about this

5    that Ruppert dicta about objects and purposes being closely           5    posture here.

6    correlated were to apply, these are different lawsuits about          6                  The committee supports the relief set forth in

7    different things.    And for those reasons, I don't think             7    the proposed order that was submitted by Aurelius.           I

8    Ruppert would be decisive even if the objects and purposes            8    believe that they will hand up to you, if it becomes

9    test there were applicable which I don't think it is or I'm           9    appropriate, a revised form of that order reflecting certain

10   sorry, it's objects and intents is the actual terminology.            10   comments we had and the committee would support the entry of

11                As to the 546(e) defense which, again, I don't --        11   that revised order.        And I'm available to answer any

12   I do agree with Mr. Golden is not properly before the Court           12   questions that the Court has.

13   today.     Just a couple of things.     It's really an attempt to     13                 THE COURT:     All right, thank you, Mr. LeMay.

14   pre-litigate a motion to dismiss.       It's an attempt to get a      14   Anyone else in favor of?

15   first crack at a motion to dismiss and then presumably have           15                 MR. SIEGEL:     Good morning, Your Honor.     Martin

16   a second crack in State Court later.       That issue, I think as     16   Siegel from Brown Rudnick on behalf of Wilmington Trust.

17   Mr. Golden says would need to be litigated in the Court               17                 Wilmington Trust, the indenture trustee for the

18   where the litigation was brought.        Everything Mr. Golden        18   PHONES has joined in the motion and we adopt the arguments

19   says and that we mentioned in our papers about the PHP case           19   of counsel for Aurelius and counsel for the creditors'

20   is true.                                                              20   committee, but there is a couple of things I do want to

21                And the final thought I thought I would leave            21   mention.

22   Your Honor with on -- that is it's very interesting when              22                 First of all, the claims in the trust at least in

23   people -- people's metaphors sometimes say a fair amount of           23   the first instance on behalf of the PHONES pursuant to

24   what they're really thinking.      And the metaphor that's been       24   Section 5.05 belong to the indenture trustee to bring.            The

25   used here is the metaphor of an end run, another sports               25   indenture trustee here does intend to bring them.           And




                                                                      59                                                                             60


1    because of our place in the capital structure, the PHONES             1                  THE COURT:     Well let's -- why don't we talk about

2    place in the capital structure, this is particularly                  2    your standing first?

3    important relief, Your Honor, and may well be a very                  3                  MR. SIEGER:     A couple of points on that, Judge.

4    important source of recovery for the PHONES.                          4                  THE COURT:     And typically, an entity that's not a

5                 In particular, I think the debtor actually agrees        5    creditor of the estate or not otherwise a shareholder or

6    with us.     With regard to the creditors' trust, one of our          6    other party and interest wouldn't have standing to complain

7    objections to the debtors' plan was that the creditors'               7    about being a defendant in an adversary or a potential

8    trust that the -- that's part of that, we made the argument           8    defendant in the lawsuit.        And why would that be different

9    that those contractual subordination provisions do not apply          9    here?

10   to the creditors' trust for at least any PHONES holders that          10                 MR. SIEGER:     Well, I've got at least three

11   did not opt out.     And the debtor agreed with us in Page 140        11   responses to that, Judge, and maybe a fourth.

12   of their confirmation brief and said they're going to be              12                 The first being, I'm not aware that anybody ever

13   amending their plan to reflect that.       We think the same          13   raised the standing issue ahead of now and I would suggest

14   principle will apply to any -- the state law claims brought           14   that it's been waived.        But to the extent that standing is

15   by Aurelius, the other indenture trustees, and Wilmington             15   always an issue in front of the Court, we did argue in

16   Trust.                                                                16   connection with our confirmation objection that we are a

17                So from our standpoint, Your Honor, in                   17   party and interest, albeit not a creditor.        There's no

18   particular, we strongly urge that you grant the motion,               18   dispute.   We are not a creditor of this estate.          We do

19   thank you.                                                            19   believe that we need to test -- it's fully briefed there.

20                THE COURT:    Thank you.    I'll hear from objectors.    20   Because it was not raised in the papers today, I'm not ready

21                MR. SIEGER:    Good morning, again, Your Honor.          21   to cite the cases we cited there, but I think -- I don't

22   John Sieger for the foundations appearing pro hac vice.               22   believe anybody challenged it when we filed the confirmation

23                Your Honor, I want to pick up first on a point           23   objection, frankly.

24   that the committee raised in terms of the timing of this and          24                 Next, Your Honor, I would submit that --

25   it actually goes --                                                   25                 THE COURT:     The parties have been focused on
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1    other things I think.                                                      1    they're asking you, number two, to say that these claims are

2                 MR. SIEGER:    I heard there was something going on           2    reverted to them.     I have seen a couple of versions of the

3    in this room.                                                              3    order, not the one that was just referenced by committee

4    (Laughter)                                                                 4    counsel.    But so far as I know, that language is survived in

5                 MR. SIEGER:    Your Honor, in addition to that, I             5    all of the drafts of the order.

6    would suggest that there's half a dozen lawyers in this room               6                  I think if one were to be intellectually

7    that represent creditors that joined the motion.       I think             7    consistent with the statements that this is just a routine

8    the issue is before the Court whether or not it is I                       8    precautionary sort of motion, what Your Honor is really

9    personally that was speaking to you.      The issue is properly            9    being asked to enter is sort of an agreed stay relief

10   before the Court on behalf of creditors.                                   10   motion.     That in the event these state law claims are

11                THE COURT:    Yeah, I didn't think I was going to             11   brought, the creditors' committee, the debtor, maybe the

12   avoid a decision based on that.                                            12   U.S. Trustee is not going to allege that they violated the

13   (Laughter)                                                                 13   automatic stay.

14                MR. SIEGER:    Your Honor, I'm happy to go further            14                 THE COURT:    Yeah, if it applies.

15   with that, but in the event that Your Honor wanted to enter                15                 MR. SIEGER:    That's correct.   If, in fact, Judge,

16   an order today that said that we have no standing here today               16   that was the limit of the relief sought here today, I'd have

17   and that nothing that's happening in this order is going to                17   a lot less to argue about.

18   impact us in any way in the impending State Court cases, I                 18                 THE COURT:    What about the provision in the

19   think I'm stuck, I would sit down.      I wouldn't be happy                19   mediation order from which relief is sought?

20   about that, but I would have to sit down.                                  20                 MR. SIEGER:    I don't have a position on that,

21                They're going further, Judge.    They're asking you           21   Judge.     If they need -- I'm not familiar with it, but if

22   to make a couple of findings that I believe, although they                 22   they need a relief from that in order to do it, that's not

23   say in their motion that it's a routine motion and that                    23   my concern.     But as to the timing issue, Your Honor, I --

24   everything is preserved.     They're asking you to find number             24   can -- are you happy with that issue?

25   one, that these claims are not property of the estate.        And          25                 THE COURT:    You don't have to sit down.




                                                                        63                                                                              64


1    (Laughter)                                                                 1    pushed over until the argument on the confirmation

2                 MR. SIEGER:    On the issue that the committee                2    objections which covers not only this issue, but some

3    raised in terms of the timing, there is a lot of overlap                   3    related issues.

4    here between the issue that we raised in our objection and                 4                  But to the extent Your Honor wants to go forward

5    the issues that we and other creditor -- that we, a non-                   5    today on this issue, I do have legal argument to address

6    creditor and other creditors raised in connection with                     6    what the Aurelius counsel suggested.

7    confirmation.    And I agree with the committee's sort of                  7                  THE COURT:    Then proceed.

8    implication that this may not be a today issue.        We're not           8                  MR. SIEGER:    Okay.   Your Honor, it is accurate to

9    trying to -- we don't expect to run out the clock, Judge.              I   9    say that we raised two main objections.        And I know you've

10   mean, we're talking about as to my clients $1.2 billion.                   10   read the paper so I'll just highlight them briefly.         Number

11   We're not expecting the army of lawyers that represent the                 11   one is the standing issue.       And number two is sort of the

12   estate or the largest creditors to somehow let that slip                   12   preemption 546(e) issue.

13   through the cracks or for Your Honor to allow that to                      13                 Your Honor, what we have not heard from anybody

14   happen.     But I would suggest that what happens at                       14   here despite the fact that this is being presented to you as

15   confirmation could impact us.                                              15   a routine motion, nothing out of the ordinary is a single

16                There's an allegation that was raised today that,             16   citation to any case where any creditor outside of

17   you know, we're going to get a release as to Step 1.        And            17   Bankruptcy Court, sued to avoid the very same transfers that

18   while aware that that is proposed in one of the plans, I,                  18   the estate has sued to avid.         The fact that they're calling

19   unfortunately, have not heard Your Honor sign off on that.                 19   them constructive fraud claims as opposed to actual fraud

20   So I think it is premature to base any argument on that.           I       20   claims, we are talking about the same as to my client's $1.2

21   would -- and only Your Honor knows what the timing is of the               21   billion.

22   confirmation hearing, but I would suggest that if there was                22                 We have cited a case law that suggests that if

23   a ruling even in late May, they could pick up and file                     23   it's in the same ballpark roughly, they're precluded from

24   whatever claims they need to file in order to make a June 4                24   doing that.     And I don't know, there really is no effort to

25   deadline.    I really would only ask that this matter be                   25   overcome that.     They suggest that the cases are different,
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1    but not based on relevant points.          Nobody says here's a case      1                  I would submit that if the creditors' committee,

2    where this has happened and where it's appropriate.         So at         2    the debtor, and Aurelius were really all arm in arm about

3    an absolute minimum, this is unusual relief.         I might              3    this, the easy fix would be for the committee complaint to

4    suggest this is an issue of first impression before Your                  4    dismiss the actual fraudulent transfer claims against the

5    Honor.   It's certainly not a routine motion.                             5    foundation.     That way, they're not both going after the same

6                  Again, Your Honor, in terms of the ripeness, if,            6    dollars.   If, in fact, they're right, it's a lower standard

7    in fact, they were not asking you to make findings that                   7    of proof for them.     I mean, that -- the reason that there's

8    number one these claims were property -- were not property                8    no case law on this, Your Honor, as part of your original

9    of the estate, and number two, that they've somehow reverted              9    opening remarks, I believe is that it makes no sense to

10   to the creditors, I -- the ripeness argument would have more              10   allow somebody to go run off in the State Court and to try

11   appeal to me.     But what they want is an order to go waive in           11   to challenge the very same transfers, the very same dollars

12   front of a State Court Judge essentially with your                        12   that are supposedly going to be administered through a

13   imprimatur on it suggesting you have a claim, Mr. Creditor.               13   bankruptcy plan for the benefit of all of the creditors.

14                 THE COURT:    I know that.                                  14                 Judge, I hear that one of the ideas is that, you

15                 MR. SIEGER:    Okay.                                        15   know, maybe we punt this issue down the road and they go

16   (Laughter)                                                                16   file a bunch of lawsuits of various jurisdiction and then

17                 MR. SIEGER:   I'll move on.      Your Honor, I would        17   everything gets stayed.      In many ways, that's the worst of

18   go further to say that even if there was some question even               18   all situations to the foundations, Judge.      We are a

19   following that comment about ripeness, you have a lot of                  19   charitable foundation, but the lion's share, I don't know

20   discretion here.     And the mere fact that they are seeking to           20   the exact numbers, but certainly the bulk of the

21   file claims to recover the same dollars that the estate is                21   foundation's assets are put at issue by the filing of these

22   puts it squarely before Your Honor. You're the Bankruptcy                 22   complaints.

23   Judge for this estate and they're essentially talking about               23                 And again, while we do believe in the single

24   depleting the value of the estate claims that have already                24   satisfaction, we have -- we would have a very different view

25   been raised.                                                              25   just based on the legal standards of our exposure to an




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1    actual fraudulent transfer claim than we would to four or                 1    that fact is affecting my favor because it's not even a

2    five different constructive fraudulent transfer claims where              2    potential claim, it's an actual claim that's already been

3    not only is the standard different, but you've got four,                  3    brought to avoid these dollars.      So at a minimum, that is

4    five, six judges looking at it differently.                               4    not a point of distinguishment in the favor of the movants

5                  In a way, we would be sort of frozen as a                   5    in my view.

6    foundation.     Our charitable works could be frozen in time              6                  Your Honor, the next big point they raise is the

7    because all of our assets now are potentially at play.           I        7    Baron case and I suggest that if Your Honor, your clerk

8    don't think it would be good results here from that                       8    reads that case closely, you're not going to find that it's

9    perspective if you just want to look at it on an equitable                9    particularly helpful to the movants' position.      First of

10   basis, to force the foundation to essentially freeze it's                 10   all, again, it doesn't avoid these -- sort of this idea of

11   good works at least at this, what I believe is a premature                11   competing suits to avoid the same transfers which in our

12   point in time prior to the confirmation issues being                      12   view is the issue that's in front of Your Honor.

13   resolved.                                                                 13                 And secondly, that Court, the Baron Court held

14                 Now Judge, sort of the next point they raise is             14   that plaintiffs' claims were direct sort of unique

15   they spent a lot of time trying to distinguish our case law,              15   individual claims, never common general claims which

16   but the point that they distinguish almost every case on is               16   obviously we're talking about here fraudulent transfer

17   this notion that in the cases we cite, there was only a                   17   claims.

18   potential estate cause of action having to do with the same               18                 And finally, those parties, Judge, at least as

19   issues that the creditors were going after.         And they say          19   written up in the case, the estate parties and the creditor

20   that none exist here because the two year statute ran and,                20   parties worked together to make sure that there wasn't

21   therefore, they reverted back.       They sort of have already            21   overlap between the claims.       There's obviously overlap here.

22   presumed the reverting back issue.         It belies -- it ignores        22                 THE COURT:    Well, the movants says both plans are

23   our point which is that they have not reverted back                       23   designed to address that issue.

24   principally because the estate has brought these claims.             So   24                 MR. SIEGER:   That may be, Judge, but we've

25   they think that that fact is affecting their favor.            I think    25   objected to both plans on exactly this ground.       This was
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1    part of the reason why I think this should be heard at a                1    at odds with the Hechinger case and the other cases which

2    later time.     I think it's great that they're all holding             2    suggest that plain language is not the end of the analysis.

3    hands and say this is a wonderful thing, but that doesn't               3                  If, in fact, the plan language is at the end of

4    address any of our objections which have not been ruled on              4    the analysis which this Court holds, the end arounds as

5    so far as I know and --                                                 5    we've been referring to them that other Courts have found

6                  THE COURT:    Not so far as I know either.                6    inappropriate, would not be precluded by the language in the

7                  MR. SIEGER:    Okay.   Well you would know, Judge.        7    statute.     I mean, it's the same sort of concept.        I might go

8    (Laughter)                                                              8    so far as to say that that view is dicta, the holding at PHP

9                  MR. SIEGER:    But getting back to the Baron case.        9    because the Court went on to find that the creditors had no

10   There's I think a helpful quote in there that distinguishes             10   standing in that case to bring the claims.           But I'm not

11   exactly how different that case is from this case and that's            11   going to overstate that position, Judge.           That case is the

12   at 509F.Supp 520 where the Court says "plaintiff is not                 12   one case that stands for one of the propositions they are

13   trying to recover assets diverted from the debtor."        That is      13   suggesting.     We believe it's distinguishable for the reasons

14   exactly what is happening here.        The plaintiff creditors,         14   I've just said, but I'm going to give credit where credit is

15   the state law creditors are trying to recapture stock                   15   due.

16   redemption payments made by the estates or the pre-                     16                 With that exception, Judge, with the exception of

17   bankruptcy companies to us.      So in my view, Baron is not            17   that case which only addresses one piece of this, we haven't

18   helpful.                                                                18   seen any evidence.     Any -- I'm sorry, any case law or

19                 Your Honor, they raised the same ripeness issues          19   authority to support their position.           Nobody's disputing the

20   to 546 for the reasons I've already argued on in my first               20   fact that had the estate not brought these claims, the state

21   point.     I think the same apply there.    As to the merits, I         21   law fraudulent conveyance claims would have reverted back,

22   do have to agree that the PHP case has facial appeal and may            22   but that is not the issue here.           We spent a lot of time

23   even have more than facial appeal.       It's the one case they         23   talking about that.        Nobody cares about that.     There is no

24   cite, frankly, that gives me pause.        But again, I suggest         24   support for the idea that a creditor can independently

25   that if Your Honor reads that closely, the ruling itself is             25   challenge in State Court the very same transfers, even under




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1    a different theory, the very same dollar transfers that the             1    not being property of the estate.           What we're talking about

2    estate has.                                                             2    here should be a simple you can go file these claims and

3                  THE COURT:    And what if I were to enter an order        3    nobody's going to accuse you.        Or this Court is not going to

4    that didn't dispose of that issue?                                      4    hold you as having violated the stay for doing so.           To me,

5                  MR. SIEGER:    I don't know how to respond to that,       5    that is the absolute end of the analysis.           If, in fact, this

6    Judge.     You're -- I would lump it for lack of a better word.         6    really is a simple procedural motion, there doesn't need to

7    You're the Judge.     I guess it would depend on what sort of           7    be anymore tricks in language and stuff that they can waive

8    order you were intending to craft.                                      8    in front of a State Court Judge.           We should have a fair shot

9                  THE COURT:    Well, I'll probably give the parties        9    to raise all of these defenses.

10   a first crack at it.                                                    10                 And I would actually ask that, Your Honor, if you

11   (Laughter)                                                              11   are going to grant this motion, would include a specific

12                 MR. SIEGER:    But I would suggest that to the            12   finding, expressed finding or an expressed ruling that the

13   extent you're inclined to grant this motion on some level, I            13   issues that we've raised in our objection, including 546

14   would suggest number one, that it should only be applicable             14   standing and preemption are all preserved for each of the

15   as to the movants, not to creditors as a whole.        And by the       15   State Courts to weigh in on.        I have a concern that any

16   way, in response to one of the issues in the reply, I did               16   order from this Court is going to viewed by a State Court

17   not -- we did not mean when we made that comment to suggest             17   Judge in the absence of some expressed language to the

18   that to the extent any of the movants is a trustee for other            18   contrary, as you somehow having passed on the validity of

19   creditors, that they're prohibited from bringing that claim.            19   these claims or the standing issue.           If, in fact, they're

20   That's not the point.       We just don't think it's appropriate        20   not asking you to do that, we should make it very clear in

21   for a bunch of creditors unrelated to these movants to be               21   the order.     Thank you, Judge.

22   able to bring claims on a motion that they did not bring or             22                 THE COURT:     Thank you.     Does anyone else wish to

23   support.                                                                23   be heard?

24                 Number two, we don't think there should be any            24                 MR. BRADFORD:     Yes, Your Honor.     David Bradford

25   finding at all, Judge about these claims reverting or them              25   on behalf of EGI-TRB.
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1                  Your Honor, I'd like to address both the scope of       1    consideration for that stock was part of the funding of a

2    the motion as it relates EGI-TRB, as well, as the merits of           2    note which is part of a claim before this Court.       There is

3    the motion.     This motion sought relief with respect to the         3    an effort in the pending complaint to avoid that note.        To

4    recovery of what I referred to as shareholder redemption              4    now permit State Court litigation which would seek to avoid

5    payments.     EGI-TRB, unlike anyone else before the Court on         5    the very note that is the subject of avoidance efforts

6    this motion, received no cash.     It received no payments.           6    before this Court, illustrates precisely why no Court has

7    And it did not believe it was within the scope of this                7    previously permitted the pursuit of State Court litigation

8    motion as the motion was filed.     There was a footnote              8    to essentially avoid the very transaction that is the

9    dropped in the reply brief that was submitted by the                  9    subject of avoidance complaints still pending before the

10   creditors' committee indicating that while Mr. Zell was not           10   Bankruptcy Court.

11   a defendant in this case because, in fact, he received no             11                We think the resolution of our predicament is

12   cash and there's no dispute about that, that EGI-TRB was              12   easier than the larger questions raised by this motion and

13   mistaken in its believe that it was outside the scope of              13   that Your Honor should make clear that whatever claims are

14   this motion and that it was deemed to be a Step 2 selling             14   permitted here, they should not include efforts to avoid the

15   shareholder.                                                          15   EGI-TRB second step note as long as claims are still pending

16                 The basis for that contention illustrates the           16   with respect to the avoidance of that note before this

17   problem with the merits of this motion.     And that is -- and        17   Court.    And in particular, I would note that the issues of

18   this part of the transaction I think is undisputed, EGI-TRB           18   timing are not compelling as they relate to our circumstance

19   as part of Step 1 was obligated to purchase $50 million or            19   because the only contention as it pertains to EGI-TRB or

20   Tribune stock.     It was obligated to redeem that stock as           20   relates Step 2.     So any limitation issue would not become a

21   part of Step 2, but in the form of a credit towards the               21   concern until December.      There is no Step 1 issue here that

22   purchase of its Step 2 note.                                          22   would compel an immediate filing of any kind of complaint.

23                 So EGI-TRB never got back its $50 million.     What     23                We also note, that unlike the suggestion that

24   it got was a credit toward a larger investment that it was            24   there may be a release of competing Step 1 claims, there is

25   obligated to make in Step 2.     And what it then received in         25   no suggestion that the Step 2 claims that would compete for




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1    the same recovery are going to be released.     So we are             1    lifting of the stay or of that authorization.

2    clearly going to be in a situation where the very same note           2                 I'm happy to answer any questions that the Court

3    is the subject of avoidance actions not only before this              3    may have.

4    Court in connection with the consignments complaint, but              4                 THE COURT:   Well, I’ll hear what the movants have

5    potentially before four or five other State Courts.        And        5    to say at the end in response to your particular objection,

6    that again, is foreign territory where no Bankruptcy Court            6    but I guess the only initial thought that occurs to me is

7    has permitted creditors to go.     And it would be particularly       7    what if, in connection with the trial and disposition of a

8    unreasonable and unfair in this context as it pertains to             8    constructive fraudulent conveyance claim in a State Court, a

9    the suggestion that this issue be deferred.                           9    State Court decides that the transaction should be

10                 We do have confirmation objections to this very         10   collapsed?    Does that have any implication on your argument

11   aspect of the plans.     We have objections that relate to the        11   that nobody has to worry about an expiring statute until

12   546(e) issue.     There's no reason for this Court to prejudge        12   December, with respect to your claim?

13   those objections by deciding this issue now as it pertains            13                MR. BRADFORD:    No, Your Honor, because there was

14   again solely to EGI-TRB because again, the issue only                 14   no consideration paid to EGI-TRB in connection with step

15   becomes a problem for the creditors if ever as the December           15   one.     So in other words, all of the claims against a step-

16   date approaches.    And hopefully, we'll be in a position of          16   one shareholder is -- are shareholders who received cash in

17   resolving these issues in the context of confirmation prior           17   exchange for their Tribune stock in connection with step

18   to the time that we get to a limitation issue as to the Step          18   one.     EGI-TRB did nothing but put money into Tribune in

19   2 obligations.                                                        19   connection with step one.      So to review the history, at step

20                 So for that reason, we would ask the Court that         20   one, EGI-TRB pays Tribune $200 million for a note; it pays

21   however you resolve the larger motion, that you make clear            21   Tribune $50 million for stock.     That’s the end of it.     It

22   that the unique circumstances raised by the double recovery           22   gets nothing back.    So if step one is avoided, there is

23   efforts against the EGI-TRB note and the $50 million of               23   nothing to recover from EGI-TRB as it pertains to step one.

24   stock that was credited toward the purchase of that note,             24   The only issue is whether EGI-TRB is entitled to some

25   again not involving any cash, are not the subject of that             25   recovery on account of the obligations owed to it by Tribune
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1    as it pertains to those transactions.                                      1                  THE COURT:   Does anyone else wish to be heard?

2                  At step two, EGI-TRB is obligated to put in                  2                  MR. DOUGHERTY:     Good morning, Your Honor.    My

3    approximately an incremental $90 million to its investment,                3    name’s George Dougherty.        I’m here on behalf of certain

4    and that new investment takes the form of a $225 million                   4    defendants.    We filed a joinder in the objection, and I just

5    note and a $90 million warrant.           Rather than put entirely an      5    want to make sure that we’re here and we agree with what Mr.

6    additional $315 million of additional cash in, the prior                   6    Seiger [ph] said, especially the part about the UCC and the

7    investment of 225 is credited toward the increased                         7    state dismissing the intentional fraudulent conveyance

8    investment.    So again, no cash comes back.        But all of that        8    claims.     We’d love to have that happen.     I don’t think it

9    happens in December.        So to the extent that somebody could           9    will.

10   argue constructively that somehow this credit toward a                     10                 THE COURT:   Mr. Dougherty, who do you represent?

11   larger investment is somehow avoidable, that does not occur                11                 MR. DOUGHERTY:     We represent certain defendants:

12   until December.     And whether the transactions are collapsed             12   Mr. Fitzsimmons [ph], Mr. Vanesco [ph], et cetera.

13   or not, there would be no claims pertaining to transactions                13                 The other thing is, I do want to make clear that

14   occurring in April or June, because again, EGI-TRB did not                 14   the first two paragraphs in the proposal -- or that WESAU

15   receive anything of value in connection with the first step                15   [ph] yesterday, are inconsistent with the idea that they

16   of this transaction.        It only lost money insofar as the              16   just want to get these claims on file and that the new Court

17   first step of the transaction goes.                                        17   should decide issues of standing.        Paragraphs one and two,

18                 I would also just note, on the issue of standing,            18   in particular, say that the claims no longer constitute

19   that EGI-TRB contends that it has prior over any                           19   property of the estate.        And paragraph one says that the

20   distribution to the PHONES as a matter of subordination and                20   creditors have regained their right to bring these claims.

21   priority and therefore does have an interest in the                        21   We would object to those.        If there’s a new order floating

22   disposition of the estate proceeds in its capacity as a                    22   around, I’d like to see it, to the extent you’re

23   claimant against the estate.                                               23   contemplating entering such an order.        Thank you.

24                 THE COURT:     Thank you.                                    24                 THE COURT:   Thank you.

25                 MR. BRADFORD:     Thank you, Your Honor.                     25                 MR. TEITELBAUM:     Good morning, Your Honor.     Jay




                                                                           79                                                                              80


1    Teitelbaum with Teitelbaum and Baskin for the TM retirees.                 1    one realized what could happen in the context of what

2    We filed a joinder to the objection, Your Honor.                           2    happens if these claims get brought, talking not so much

3                  Your Honor, while this has been characterized as             3    double-recovery, because that’s just not within the cards,

4    mundane, there are implications and ripples that affect not                4    and I think we know that, but what are the implications to

5    only what is -- has happened in the case but what may happen               5    the people who are being affected, and particularly my

6    in the case.                                                               6    clients and other similarly situated retirees?        We represent

7                  We are in a somewhat unique position in that,                7    about 200 of the 450.

8    back in April, as Your Honor may recall, the TM retirees                   8                  The concept here was taking up to a 65-cent

9    entered into a settlement agreement.           That settlement             9    haircut for peace in the valley, if you will.        And now, we

10   agreement was appended to the plan, the original plan, and                 10   have to go back -- and they voted on a plan in that context.

11   now the amended plan.        And essentially, what that settlement         11   If they are now being told: Guess what; you may be compelled

12   agreement did was compromised and settled not only the                     12   to defend -- putting aside merits, et cetera -- serious

13   amount of the claims but set forth the methodology for                     13   litigation that could claw back up to 50 percent of that

14   calculating.    And as part of that settlement, it provided                14   which you may be given in the plan, that’s not the deal they

15   for releases in connection with LBO litigation.          The fact of       15   bargained for.     That’s not the deal they voted for.        And

16   the matter is, Your Honor, the -- at that time, these                      16   what I’m up here to suggest that the unintended, or perhaps

17   constructive fraud claims, and even at the time of the                     17   the intended, consequences of this motion is to throw this

18   amended plan, were property of the estate.          And it was, I          18   process into a bit more chaos than this Court has seen to

19   believe, within the contemplation of the parties that the                  19   date.

20   consequences of the -- of what we’re here today, were not                  20                 THE COURT:   And who would’ve thought that were

21   even considered.                                                           21   possible?

22                 You know, I actually have the opportunity, now               22   (Laughter)

23   that my daughter’s taking business law in college, to go                   23                 MR. TEITELBAUM:    Yes.   The fact of the matter is

24   over contracts 101.        There was no meeting of the minds at            24   that the exigency of that chaos outweighs the exigency of

25   this point, because no one really thought it through.            No        25   June 4.     And what I would ask the Court is to give parties
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1    who hadn’t beforehand thought about what the implications              1    only faced with not having received pension benefits since

2    may be to people who voted on a plan and may now have to be            2    the filing of the case, and looking at 65 percent of their

3    forced to come back to this Court and ask the Court: Wait a            3    retirement savings gone, faced with litigating the issue of

4    second; we need to rethink this.                                       4    do I have to give back -- even if it’s a million dollars and

5                  I’m not suggesting I have a better mousetrap or a        5    you were 60 years old and that was your retirement.         How

6    way to fix it, but I think we need time to see if we can               6    would we deal with that, as individuals in today’s world, or

7    build that mousetrap, come up with a resolution that works             7    in any world?     That’s the reality of what this is.       This

8    for everyone, whether it’s reasonability, rational                     8    isn’t some law school exam; this is reality for people.            And

9    thresholds for pursuing claims, whether it’s just carving              9    all I’m asking this Court for is the opportunity to sit down

10   out certain parties.     But the fact of the matter is, Your           10   with, hopefully, rational people and come up with a way to

11   Honor, there are implications here.     The PHONES stood up and        11   say, you know, maybe individuals aren’t the same as a

12   raised the issue of the subordination.     That’s directly             12   billion-dollar trust or other entities.        Maybe they are the

13   implicated in connection with the plan.     That’s an issue            13   same, but we need to discuss it, because I don’t think

14   here that would have to be fought on multiple fronts if, as,           14   people thought this through.

15   and when these State Court actions were to proceed.                    15                 And so, Your Honor, I’m here to ask that the

16                 And speaking only for my clients, some of whom,          16   Court not issue this ruling expeditiously in order to give

17   arguably, are more sympathetic than others in their relative           17   the parties an opportunity, as you have in the past, to try

18   wealth, this is a tremendous burden for individuals.        And        18   to work through their differences.       And we’ve achieved

19   you know, now, as a practitioner in a small firm as opposed            19   differing degrees -- varying degrees of success in that

20   to a big firm, I see that implication to people, and I see             20   effort, but there has been some success.        Thank you, Your

21   -- and I hear it on the other end when a trustee or a trust            21   Honor.

22   says, well, you know, settle it if you don’t want to incur             22                 THE COURT:    Thank you.   Excuse me.

23   the litigation costs.     Well, that’s real money to real              23                 MR. JACOBS:    Good morning, Your Honor.   I think

24   people who are -- have long since retired in this case from            24   there’s going to be two brief replies to some of the points

25   this company, after giving 20/30-plus years and are now not            25   that have been made.        David Rosner, Kasowitz, Benson, Torres




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1    & Friedman on behalf of Law Debenture Company of New York.             1    another Court, should that Court decide to stay in action,

2    We’re the indenture trustee for approximately 18 percent of            2    should that Court decide to dismiss an action without

3    the senior notes, which is roughly $200/$240 million in                3    prejudice pending a determination of another Court.         And

4    senior notes.     We’re a co-movant under this motion, and             4    I’ve seen those types of motions and litigated those types

5    we’re also a co-plan proponent, as your Court has -- as Your           5    of motions.     But again, that’s a defense.     And the motion

6    Honor is probably aware.                                               6    said -- says it in a number of ways, and the movants have

7                  I’m just going to respond to a couple of the             7    said it in a number of ways, that the point is not to

8    points.   Again, I think it is -- it’s crystal clear that              8    prejudice any defense.       And so, to the extent that a

9    nobody disputes who owns these claims at this point, and               9    defendant wants to say, well, we’d like to see what happens

10   nobody disputes -- well, nobody disputes that the claims of            10   in this Court before this Court, then at least the Court

11   constructive fraudulent conveyance is a different claim from           11   that has proper jurisdiction over the case would be the

12   a fraudulent -- from an intentional fraudulent conveyance.             12   Court that would be making that determination as to whether

13   There is a dispute as to whether the overlap has some                  13   ordering had anything to do.

14   bearing on whether Your Honor is going to allow these claims           14                 But nevertheless, again, we do not seek to

15   to go forward or whether a statute of limitations -- an                15   prosecute these claims today.       We only seek not to hand an

16   actual defense -- is going to be created here today.                   16   actual $8.2 billion state-statute-of-limitations defense to

17                 The foundations raise this issue of the ordering         17   the defendants, which is why they’re here today, because

18   of the prosecution before Your Honor as if that’s an issue             18   they would like that defense.

19   that the Court need be concerned about between the estate              19                 This issue that there is a transaction that is at

20   and between the creditors bringing state law claims.        I will     20   issue in competing cases, let’s say competing causes of

21   tell Your Honor that is certainly not an issue for today as            21   action in competing cases, that issue arises in almost every

22   to how claims are prosecuted and the order in which they are           22   single case in which there are estate trusts and creditor

23   prosecuted.     Number one, that’s a defense.   That would be a        23   trusts in which either the creditors have decided to convey

24   defense, in any action.     That’s a motion that any -- that           24   their claims to a trust, as what is proposed, or as to

25   either Court would consider, based upon proceedings in                 25   whether creditors bring their own claims.        But the idea that
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1    there is a similar transaction being attacked, it’s                       1    take place between now and when the Court ultimately

2    happening in Lyondell right now, even as we speak, involving              2    determines or is called upon to ultimately determine.        But

3    shareholder claims.       It’s happened in Revco in ten different         3    nobody should be sitting and staring at a clock this far

4    courts.     It’s happening in Le Nature’s, a case that I’m --             4    into a statute of limitations when the risk is a loss of

5    that’s a case that I’m prosecuting where we’ve got                        5    $8.2 billion worth of claims.    There’s no basis for it.         And

6    individual creditors prosecuting their claims.       We’re                6    by the way, if it turns out that any objections upheld, and

7    prosecuting the estate causes of action based upon the very               7    if it turns out that a defendant, who’s sitting here today,

8    same transactions, the very same Ponzi scheme in that case.               8    there is no claim against them anymore, that, too, is a

9    There’s no difference than a direct and a derivative                      9    defense that could be brought.     First of all, they most

10   situation.     This happens hundreds, if not thousands, of                10   likely wouldn’t be sued; they would be dropped from the

11   times.    The transaction at issue, different claims,                     11   complaint.    But let’s say that that didn’t even happen,

12   different plaintiffs, different forms of relief.      So I don’t          12   because there was some dispute as to whether they would be

13   really think that’s an issue.                                             13   released.    The release would be put at issue in the proper

14                And it’s certainly fine to hear, from a defendant            14   Court, and that Court would determine the release as a

15   standpoint, that there’s no rush and let’s not hear this                  15   defense.

16   today and why put the plaintiffs in a position where they                 16                The idea that these claims are reverting to the

17   can actually preserve their statute of limitations.          We’re        17   creditors is a nice terminology that people use, but I

18   one of the parties that may ultimately be bringing that, you              18   think, as we all know, and I don’t think anybody would

19   know, assuming correct direction and indemnity, that we will              19   dispute, the claims don’t revert to creditors.     They never

20   be bringing that cause of action, we do not think it’s                    20   left the creditors.     The claims were never divested of

21   appropriate for plaintiffs who have a cause of action to be               21   creditors, and they were never transferred to the estate.

22   given a hurdle and to stress a looming $8.2 billion loss,                 22   All that happened was that, for two years, they couldn’t

23   simply due to the passage of time.       A lot can happen.     Your       23   bring the claims.     Now, two years later, they can bring the

24   Honor’s comments were taken into account at the conclusion                24   claims, because the estate no longer has any interest in it;

25   of the trial by the other day by a lot of people.       A lot can         25   the estate’s business with these claims is done.     There’s no




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1    basis to hold back the plaintiffs from bringing them.                     1                 I rise, rather than Mr. LeMay solely to address a

2                 The retirees, at the very end -- this is the last            2    factual point relating to EGI-TRB’s arguments that it should

3    point I’ll make, and I’ll hand this over to the committee.                3    be treated different from all of the other shareholders and

4    That -- I didn’t understand, really, the retirees’ argument,              4    that claims, if the Court grants relief in order to assert

5    other than to say that they did not want to get sued.         And I       5    state law -- constructive fraudulent conveyance claims, it

6    know nobody ever wants to get sued, but there can be no                   6    should not grant that relief as to EGI-TRB.

7    point of there’s a surprise here that the plans provide for               7                 Your Honor, quite simply, there’s no basis for

8    shareholder litigation to go forward and anybody that                     8    treating EGI-TRB any differently from any other shareholder

9    received a payment, pursuant to the LBO, is a potential, if               9    that received value in return for its shares.     While you

10   not an actual, defendant and will be sued.       That’s always            10   heard a very complex set of transactions described to you by

11   existed in these plans.       It’s always existed in both plans.          11   Mr. Bradford, the bottom line is this: EGI-TRB had $50

12   It’s always been before the Court, and it was certainly out               12   million worth of stock.     That stock was redeemed at step two

13   there when people voted.                                                  13   of the transaction.     It’s true it wasn’t redeemed in cash,

14                So, Mr. Teitelbaum said that they didn’t really              14   but that’s not a requisite for a constructive fraudulent

15   think about it that way, and that’s not a concern for the                 15   conveyance claim.     Instead of getting cash, as Mr. Bradford

16   Court or for the plaintiffs as to how they decided to think               16   said, EGI-TRB got a $50 million credit against its

17   about it.     If it’s a voting issue, they could change their             17   obligation to purchase a note.     If it hadn’t gotten that

18   vote, but under no circumstances can they carve themselves                18   credit, if the shares hadn’t been redeemed, it would’ve had

19   out as potential defendants if they actually end up getting               19   to pay $50 million in cash.     There’s simply no basis for

20   sued on the basis of the shareholder claims that are being                20   treating a $50 million credit against an obligation to buy a

21   preserved.     Thank you, Your Honor.                                     21   note any different from getting $50 million in cash.        And

22                THE COURT:     Thank you.                                    22   the fore, Your Honor, we submit that if the Court grants the

23                MR. SOTTILE:     Your Honor, James Sottile of                23   relief requested, which the committee supports and believes

24   Zuckerman Spaeder, special counsel to the official committee              24   you should grant, there’s no basis for treating EGI-TRB any

25   of unsecured creditors.                                                   25   differently from any other party.
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1                Now, you also heard an argument from Mr. Bradford           1    filed an objection or a joinder, a blackline form of a

2    that perhaps the timing supported a different result from --            2    revised order.     If you -- Your Honor, I’d like to hand that

3    with respect to EGI-TRB, that because their shares were                 3    up for one minute.

4    redeemed at step two, there’s no great rush, and you could              4               THE COURT:     If you would.

5    hold off.                                                               5               MR. GOLDEN:     And if anybody in the courtroom

6                Your Honor, I believe that Mr. Bradford’s                   6    needs one, Mr. Dublin can give it to you.

7    analysis of the limitations issue is correct: that the                  7               THE COURT:     Thank you.

8    limitations, with respect to that redemption, properly                  8               MR. GOLDEN:     Your Honor, I’d just like to point

9    construed, wouldn’t run before December.        However, you did        9    out a couple of points.     I’m going to be very brief.    You’ve

10   hear a very complex set of transactions described to you,               10   heard foundation’s counsel suggest that paragraphs two and

11   described as integrated, starting at step one, continuing               11   three of the proposed form of order are not appropriate.

12   through step two, with respect to redemption of shares.          And    12   Paragraph two says:

13   I don’t believe that parties pursing these claims should                13   “Pursuant to Bankruptcy Code Section 546(a), creditors have

14   face the risk that someone later on will argue that all of              14   regained the right to prosecute their respective creditors

15   these transactions should somehow be collapsed together and             15   SLCFC claims against step-one shareholders and step-two

16   really the limitations period expired when the initial set              16   shareholders.”

17   of transactions that EGI-TRB engaged in were set in motion.             17              I think that Mr. Rosner’s explanation of the case

18   So Your Honor, for that reason as well, we don’t believe                18   law is exactly on point.     Those claims never went away from

19   there’s any basis for treating EGI-TRB any differently from             19   the creditors.     They’ve never been ceded to the estate.

20   any other shareholder, whose shares were redeemed for value,            20   They were held in abeyance during the pendency of the two

21   as was clearly the case for EGI-TRB.         Thank you, Your Honor.     21   years -- first two years of the bankruptcy case, and once

22               THE COURT:     Thank you.                                   22   that two years had expired and no cause of action had been

23               UNKNOWN:     Your Honor, with -- oh, I’m sorry.             23   brought, the creditors were -- retained the right to

24               MR. GOLDEN:     Your Honor, we did circulate, last          24   prosecute the claims.     I don’t think anybody actually

25   night, and we thought we had gotten it to everybody who had             25   disputes that.     That doesn’t necessarily go to the point




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1    that the foundations made, that because of a parallel                   1               MR. GOLDEN:     Okay.   And Your Honor, the only

2    pending intentional fraudulent conveyance action, those                 2    other point I want to point out, which I think should

3    claims should -- the state law claims should not proceed.               3    relieve some of the concerns by the foundations counsel, is

4    That’s a point that he’s going to -- if we get an order,                4    paragraph eight, where we say nothing in this order shall

5    he’ll be able to argue to the trial court.         So I don’t think     5    prejudice or impair any claims or defenses of any defendant

6    there’s anything about the words in paragraph two that are              6    in any proceeding in respect of a creditors SLCFC claim.        We

7    going to prejudice the foundation.                                      7    were not trying, by virtue of this order, to get a leg up at

8                So too, in paragraph three, the right to                    8    the trial Court.     They are going to -- the foundations and

9    prosecute a creditors SLCFC claim no longer constitutes                 9    any other defendant is going to defendant is going to have

10   property of the debtor’s estate.        I don’t think anybody           10   every right to assert whatever defenses they have at the

11   actually disputes that.      And --                                     11   trial Court level, and it -- and there will be nothing about

12               THE COURT:     I might.     And I’ll tell you why.          12   this order that’s going to stop them from doing that.

13               MR. GOLDEN:     Okay.                                       13              I was -- I think Mr. Sottile gave a wonderful

14               THE COURT:     There’s a 3rd Circuit case out there         14   explanation of the EGI-TRB Zell position of the movants and

15   that arose in the 363 context, and I think the specific                 15   the committee.     Mr. Bradford is a very talented lawyer.    He

16   dispute, and I forget the name of the case, centered around             16   has appeared in front of you countless times with one goal

17   whether these rights were transferred as part of a 363 sale.            17   and one goal only: to make sure that his clients do not end

18   The Court found they’re not property of the estate, at least            18   up on the wrong side of a V in a Tribune-related lawsuit.

19   for that purpose.      They’re rights that can be asserted by           19   But I don’t think it’s appropriate for potential defendants

20   the estate, but I don’t -- I think what the Court was                   20   to be able to dictate to the plaintiffs, to the estates, and

21   saying, they’re not 541 rights.       Now, the effect may be the        21   to the creditors who possess these claims, when these claims

22   same, but I -- and I’ll give you some thoughts when we’re               22   can be brought, when they should be brought, and any

23   done, but --                                                            23   limitations on bringing them.      Because if that was the case,

24               MR. GOLDEN:     Okay.                                       24   every defendant would have a field day in trying to dictate

25               THE COURT:     -- I have that concern.                      25   the contours of a potential litigation.
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1                 And finally, with respect to the retirees, I will         1    before.

2    have to reiterate.     I don’t know what was in the mind of the        2                  MR. BRADFORD:   It should work here.     Let me just

3    retirees when they cut their settlement with the DCL plan              3    try to be practical about the whole set of EGI-TRB issues,

4    proponents, but what I find hard to understand or appreciate           4    so that we don’t have to be ever-present in these

5    is that the DCL plan always contemplated -- always                     5    proceedings and we can simply.

6    contemplated -- the ability of creditors to prosecute,                 6                  THE COURT:    Oh, I suspect you’re going to be here

7    either individually or through a trust into which they would           7    anyway.

8    put their claims, state law constructive fraudulent                    8                  MR. BRADFORD:   Well --

9    conveyance claims.     Now, the DCL plan, I think as Your Honor        9    (Laughter)

10   may recall, does have a limitation that the first $100,000             10                 MR. BRADFORD:    -- it’s certainly not our desire,

11   is protected.    But I’m just surprised that Mr. Teitelbaum            11   Your Honor.     EGI-TRB has no assets, other than its claims

12   said that they -- he and his clients -- were unaware of the            12   against this estate.       Nobody would stand to defend these

13   fact that, once they cut their settlement, there may be a              13   claims on behalf of EGI-TRB if, upon confirmation and upon

14   possibility that some of his clients -- actually, he hasn’t            14   motion practice related to that confirmation, we had some

15   said who -- but some of his clients may be defendants in               15   clarification as to what, first of all, the rights of EGI-

16   these creditor-sponsored state law constructive fraudulent             16   TRB are in connection with this plan.         But more basically --

17   conveyance claims, because the DCL plan always contemplated            17   and something we do intend to bring before the Court.            Most

18   that possibility.                                                      18   recently, there was, added to a complaint, and this was the

19                Excuse me, Your Honor.      That’s all I have.            19   subject of some of the standing litigation that we tried to

20                THE COURT:    All right.    Thank you.                    20   pursue and that was ultimately withdrawn, an allegation that

21                MR. BRADFORD:    Yes, Your Honor.    Very briefly, on     21   EGI-TRB’s corporate status should be pierced and that Mr.

22   EGI-TRB, first, to the extent there’s any concern about step           22   Zell should somehow be liable personally for that.         There’s

23   one, we’re prepared to enter into a tolling agreement to               23   no factual allegation for that.         It does not comply with

24   address that.    Clearly, this is a step-two issue only.               24   Rule 11.     It is something that we think the Court will

25                THE COURT:    I know.    That proposal didn’t work        25   strike.    And if stricken, we could be done here.       There is




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1    no reason for us to have to stand and defend all of this,              1    of the movants, and that, I think, is probably not something

2    because again, the only assets are the notes that we                   2    we could agree with.       One of the reasons we got involved in

3    referred to previously, which are claims against the estate.           3    this whole motion was to make sure that there was a level

4                 And so, I think that there is practical value in          4    playing field for all creditors.        And as is often the case

5    deferring further litigation until the plan confirmation               5    in lift/stay jurisprudence, there is a concern that you

6    issues are resolved.      And insofar as this is really a step-        6    don’t put one person in a position that others similarly

7    two set of issues in any event, we don’t think there’s a               7    situated can’t take advantage of.

8    hurry, and we’re prepared to give whatever comfort people              8                  So I would urge the Court that if relief from the

9    need to make sure that there’s not a preclusive outcome to             9    stay is to be granted today, that it be for the benefit of

10   being able to have that further dialogue.                              10   everyone and not just these movants, and that’s the way the

11                So thank you, Your Honor.                                 11   current form of order that Mr. Golden tendered --

12                THE COURT:    Thank you.                                  12                 THE COURT:   I know, but --

13                MR. LeMAY:    Your Honor, I might have just a few         13                 MR. LeMAY:    -- reads.

14   sentences?                                                             14                 THE COURT:   -- let me ask you this.     As a --

15                THE COURT:    Certainly.                                  15   well, I’ll put it in terms of the 30,000-feet view.        As a

16                MR. LeMAY:    Just because I wanted to get in,            16   prudential matter, why would a Court grant relief to parties

17   David LeMay for the committee again, and I apologize for               17   who are not asking for such relief?

18   tag-teaming with Mr. Sottile.        We have a division of labor.      18                 MR. LeMAY:   A fair point, Your Honor.     I think it

19                Just two very brief thoughts, Your Honor.                 19   comes back to the way Section 362 works and the way that the

20                First, to the extent the Court were inclined to           20   section or the subpart of 362 on relief from the stay works,

21   entertain the idea of not deciding this right now, today,              21   and you’ll see that it says that the Court may grant from --

22   but instead a brief adjournment, the committee, for its                22   relief from the stay, such as by -- and I’m doing this from

23   part, would have no problem with that.                                 23   memory, and I apologize -- conditioning, annulling, or

24                Second, the proposition was raised that if relief         24   terminating the stay.      I don’t think the -- that the

25   is granted from the stay today, it ought only to be in favor           25   application of the automatic stay, with respect to unsecured
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1    creditors, is one of those things where it’s only the people           1    constructive fraud claims were claims of the estate, and at

2    who ask for it that can be given relief.      You may determine        2    the time of the amended plan

3    those are the only people who should be given relief.        I         3    “known or unknown, which may exist against any retiree

4    guess what I’d like to suggest is that you’ve got the power,           4    claimant, with respect to such claimant retiree claim,

5    and I would suggest you should, put everybody on the same              5    including without limitation, any claim for the avoidance

6    footing.                                                               6    and recovery of any pre-petition payment or transfer made on

7                 As I say, one of the very reasons we got                  7    account of such retiree claim shall be hereby released and

8    ourselves involved, after the motion was filed, was                    8    waived.”

9    precisely to make sure that other voices not in the                    9                  The concept of this specific stip was built into

10   courtroom today were put on the same footing.       And I think        10   the plan in the definition of retiree release claims in

11   -- I do think that the architecture of Section 362 is                  11   11.1.2 and 11.2.     What I’m suggesting to you -- and maybe I

12   supportive of that.                                                    12   misstated it, and maybe I wasn’t clear -- wasn’t only what

13                THE COURT:   Thank you.                                   13   was in the retirees’ mind.     Your Honor, it was never within

14                MR. LeMAY:   Thank you.                                   14   the contemplation of the parties.     And I understand this may

15                THE COURT:   All right.   Last word.                      15   not be before the Court today, and this is the chaos point I

16                MR. TEITELBAUM:   Thank you, Your Honor.    Just          16   was trying to avoid.    It may well be that it has to be teed

17   very quickly, just to address the point.      The stipulation          17   up as to whether the implications of what is being asked for

18   that was attached to both plans that was executed by the               18   today was fully, fairly, adequately disclosed to people when

19   retirees in paragraph seven, says that this -- that -- and             19   they made their vote.     And I think that circumstances, that

20   I’ll -- let me just quote it:                                          20   have been presented to this Court today, show that there is

21   “The debtors agree that, in consideration of the compromises           21   some, at least basic, disagreement amongst some very, very

22   set forth herein, and upon the occurrence of the condition             22   smart people as to the implications of the words in the

23   of the effectiveness hereof, any and all claims of the                 23   disclosure statement and on certain creditors who voted.

24   debtors and their estates”                                             24   And that’s what I’m suggesting.     I’m not suggesting it’s

25                And recall, at the time this was done, these              25   before you.     I’m suggesting I’m trying to avoid having that




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1    be brought before you, so that we can all try to work                  1    there to say that I’d like -- because I know these orders

2    through this issue.                                                    2    will come up in state courts, all of the defined terms to be

3                 THE COURT:   All right.   Thank you.   All right.         3    explained in the body of the order itself so that courts

4    Since the circumstance in which, arguably, the movants here            4    don’t have to look elsewhere to find out what the order

5    could’ve just went and done what they wanted to do without             5    means.

6    asking the Court, but they didn’t, so if I’m to enter an               6                  With respect to the -- whether a creditors SLCFC

7    order, my inclination is to make it sufficiently clear that            7    claim is or was no longer property of the estate, I don’t

8    I’m not disposing of substantive rights.     I’m not making a          8    want to make that declaration, because I’m not sure it ever

9    determination of what happens to state law fraudulent                  9    was.     but again, I’m willing to sign an order that makes it

10   conveyance claims upon the expiration of the estate’s                  10   clear that this Court is not standing in the way of anyone

11   ability to pursue them, but without standing in the way of             11   who has a right to prosecute such a claim, and that the

12   such actions.    So let me just, as I look over the various            12   estate has -- I don’t know what the appropriate word is to

13   proposed orders, tell you what I would be willing to                   13   describe it -- failed to pursue, forfeited -- however

14   consider.    I will give counsel a chance to confer and to             14   counsel can work that out -- the right to pursue it, here in

15   submit, excuse me, a form of order which would address these           15   the bankruptcy court.

16   issues.     And to the extent the parties cannot agree, then           16                 I think, with respect to the stay issue, I think

17   I’ll consider competing forms of order.                                17   whatever paragraphs are built into an order -- I don’t want

18                So, not in any particular order, let me just make         18   to make a declaration that 362 doesn’t bar the commencement,

19   the following comments.     And I’ll work, initially, from the         19   but I would be willing to say, to the extent the stay does

20   most recently marked-up proposed form of order that Mr.                20   apply, it’s lifted, solely to permit the commencement of

21   Golden handed me.                                                      21   such litigation.     But I would like the memorialization,

22                I would be willing to say something like pursuant         22   until further order of this Court -- and I’ll tell you why

23   to -- well, the failure of the estate to pursue such claims,           23   in a moment -- that no litigation should be pursued or

24   that creditors have regained the right, if any, to prosecute           24   prosecuted, because I am concerned about whether there would

25   their respective creditors SLCFC claims.     And I’ll stop             25   be implications with respect to any decision I might make in
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1    connection with confirmation of a plan, and I want to                   1    very much.     I don’t have any interest in this matter, if I

2    reserve, to myself and to the parties who have objected to              2    could be excused.

3    confirmation, to make whatever arguments they have to make              3                 THE COURT:     Certainly.

4    without being hampered by an order that I’m entering here.              4                 MR. ALBERTO:     Thank you.

5    I don’t mean to dispose of any of those rights.                         5                 THE COURT:     Okay.   We’ll take just a five-minute

6                 The bridge lenders proposed order was more                 6    break, and I’ll -- we’ll finish what’s on the agenda.

7    specific in terms of reserving rights, specifically in their            7    (Recess at 12:10 p.m. to 12:17 p.m.)

8    proposed paragraph seven, I think you added there eight.                8                 THE CLERK:     All rise.    Please be seated.

9    And I think that covers the extent of the relief that’s been            9                 THE COURT:     Did you address number 21 on the

10   requested.    And any objections that have been raised, I now           10   agenda?

11   overrule, again subject to not impairing anybody’s right to             11                MR. KANSA:     Your Honor, Ken Kansa from Sidley

12   assert a confirmation objection.                                        12   Austin.   We did skip over item 21, which was the 44th

13                Now, are there any questions?                              13   omnibus objection, inadvertently.        The only matter we had,

14   (No audible response)                                                   14   going forward on that point, was a status conference with

15                THE COURT:     Shocking.    I haven’t been that clear      15   respect to the claim of Ms. Carol Walker [ph].        The -- we

16   in weeks.                                                               16   spoke with Ms. Walker on Friday, and she has agreed to

17   (Laughter)                                                              17   continue to her claim, to the best of our knowledge, or we

18                THE COURT:     Okay.    What I’ll do, for calendar         18   agreed to continue our objection, and she agreed to our

19   purposes, is continue the hearing on this motion to the                 19   continuance.    So as a result, we are not proposing to go

20   April 11 date, which is the resumption of the confirmation              20   forward with the status conference on that today.            We also

21   hearing, but we’ll expect, in the interim, that counsels                21   had a response, at the end of the day yesterday, from

22   should be able to confer and submit, hopefully within the               22   Software AG --

23   next week or so, a proposed form of order, with a disk,                 23                THE COURT:     I saw it this morning.

24   please.     Any questions about that?                                   24                MR. KANSA:     And we have agreed to continue the

25                MR. ALBERTO:     Your Honor, no questions.     Thanks      25   objection with respect to that claim as well.         We will




                                                                       103                                                                           104


1    submit a revised form of order under certification of                   1                 MR. SEIFE:     Your Honor, the line of cases, which

2    counsel.                                                                2    Your Honor is very familiar of -- familiar with and cited by

3                 THE COURT:     Okay.    Thank you.                         3    the parties, I think what’s striking about them, in each

4                 MR. KANSA:     Thank you, Your Honor.                      4    case, the Court had a fairly fixed and specific idea of what

5                 THE COURT:     Okay.    Let’s turn, lastly, to the         5    the claims were that were going to be paid.         And if you go

6    debtors’ motion concerning advancement of defense costs.                6    through each of those cases, whether it’s -- and from this

7    Let me ask first, though.          Is the committee still pressing      7    district -- Allied Digital, World Health, Downey.        If you

8    its position?                                                           8    read those opinions, before the Court was a factual showing

9                 MR. SEIFE:     Good afternoon, Your Honor.     Howard      9    of exactly what the claims were that were going to be paid.

10   Seife from Chadbourne & Parke for the committee.          Pressing      10   And I know it’s easy to dismiss the motion -- or grant the

11   our position on a request for an adjournment or as to the               11   motion on the basis that the proceeds are not property the

12   merits?                                                                 12   estate, and we don’t challenge that, as a conceptual matter.

13                THE COURT:     Yes.                                        13   But the policies themselves are property of the estate.            And

14   (Laughter)                                                              14   every dollar that goes out to pay defense costs is a dollar

15                MR. SEIFE:     Yes, we are, Your Honor.                    15   taken away from potential recoveries down the road for

16                THE COURT:     Okay.    Okay.   Let me give you my         16   creditors or --

17   reaction here.     You know, we face these types of issues all          17                THE COURT:     Okay.   So there’s --

18   the time.    Now, I haven’t read the specific policy, but if            18                MR. SEIFE:     -- from Tribune’s --

19   what the debtor says here is true, not only is there                    19                THE COURT:     There’s a reduction in the overall

20   discreet side A coverage, but a provision which says who                20   coverage if there’s a side A payment.

21   gets paid first.     And if that’s true, unless -- well, I              21                MR. SEIFE:     Yes.

22   mean, that, 99 percent of the time, answers the question.               22                THE COURT:     Okay.   Even so, is there, in fact,

23   So putting aside the alleged need for further discovery,                23   the -- you know, a priority-of-payment provision in the

24   because I know the debtor says why that’s not necessary,                24   policy?

25   what’s different about this situation that I’m missing here?            25                MR. SEIFE:     There is a priority-of-payment
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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY

  ----------------------------------------------------------------x
                                                                  :
  DEUTSCHE BANK TRUST COMPANY                                     :
  AMERICAS, in its capacity as successor indenture :
  trustee for certain series of Senior Notes, et al.,             :
                                                                  :
                                      Plaintiffs,                 : Civil Action No. 11-3148 (WJM) (JAD)
                                                                  :
                    - v. -                                        :
                                                                  :
  MERRILL LYNCH TRUST COMPANY,                                    : Motion Day: August 1, 2011
  A DIVISION OF BANK OF AMERICA, N.A.,                            :
  et al.,                                                         :
                                                                  :
                                      Defendants.                 :
                                                                  :
  ----------------------------------------------------------------x




                               MEMORANDUM OF LAW IN SUPPORT
                                OF PLAINTIFFS’ MOTION TO STAY




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                   As directed by the United States Bankruptcy Court for the District of Delaware

   (the “Bankruptcy Court”), which authorized the commencement of this action, plaintiffs

   Deutsche Bank Trust Company Americas, Law Debenture Trust Company of New York, and

   Wilmington Trust Company (collectively, “Plaintiffs”), in their capacity as successor indenture

   trustees for certain Notes issued by Tribune Company (“Tribune”), hereby request that this Court

   stay the time for the defendants to answer or otherwise respond to the Complaint in this action

   until the earliest of (i) October 31, 2011, without prejudice to any further motion by Plaintiffs to

   seek a later date or otherwise extend the stay, (ii) order by the Bankruptcy Court in Tribune’s

   chapter 11 proceedings (the “Bankruptcy Proceeding”) (In re Tribune Co., No. 08-13141 (KJC)

   (Del. Bankr.)) confirming a plan of reorganization, or (iii) further order of the Bankruptcy Court

   or this Court.1 As shown herein, the requested stay will benefit the Court and all the parties in

   interest to this action.

                                    PRELIMINARY STATEMENT

                   This litigation arises from the failed leveraged buyout of Tribune in 2007 (the

   “LBO”). Financial and industry analysts at the time described this transaction as one of the most

   highly leveraged and ill-advised in history. Compl. ¶ 1. Despite Tribune’s declining business,

   pursuant to the LBO Tribune paid its former shareholders $8.3 billion in cash at the expense of

   Tribune’s existing creditors, and precipitated the company’s descent into bankruptcy shortly

   thereafter. Id. In this action, Plaintiffs assert claims that seek to avoid and recover, as

   constructively fraudulent conveyances, all transfers of proceeds received by each defendant in



            1
        Plaintiffs are moving for an identical stay in the related action pending in this Court,
   Deutsche Bank Trust Co. Americas v. Sumitomo Trust & Banking Co. (U.S.A.)., No. 11-3147
   (WJM) (JAD).


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   connection with the LBO (and together with the state law constructive fraudulent conveyance

   cases brought by Plaintiffs in 21 other states, the “Creditor SLCFC Claims”). Compl. ¶ 2.

                        The Honorable Kevin J. Carey, Chief Judge of the Bankruptcy Court, has

   presided over the Tribune Bankruptcy Proceeding since the Debtors’ chapter 11 filings in 2008.

   On April 25, 2011, Chief Judge Carey issued an order (the “SLCFC Order”) providing that

   sections 362(a) or 546(a) of the Bankruptcy Code do not bar Plaintiffs from commencing state

   law constructive fraudulent conveyance claims against former Tribune shareholders (SLCFC

   Order ¶¶ 2, 3, attached as Exhibit C to the Declaration of Hal Neier dated June 29, 2011 (the

   “Neier Decl.”)). The SLCFC Order also directed that, with certain exceptions, litigation of the

   Creditor SLCFC Claims be stayed in order for the Bankruptcy Court to address certain

   objections by parties in interest challenging proposed plans of reorganization. Neier Decl. Ex. C,

   ¶ 6;2 see also Transcript of Proceedings before Chief Judge Carey, Mar. 22, 2011, at 100-01,



            2
                The SLCFC Order states, in part:

                         2.      . . . “[T]he Debtors’ creditors have regained the right, if any, to prosecute
                 their respective state law constructive fraudulent conveyance claims against Step One
                 Shareholders and/or Step Two Shareholders to recover stock redemption/purchase
                 payments made to such shareholders in connection with LBO (collectively, the “Creditor
                 SLCFC Claims”).
                         3.       To the extent the automatic stay of 11 U.S.C. § 362(a) stays the
                 commencement of any Creditor SLCFC Claims, the automatic stay is hereby lifted to
                 permit the filing of any complaint by or on behalf of creditors on account of such
                 Creditor SLCFC Claims, including, without limitation, any complaint filed by any
                 plaintiff in the Original Plaintiff Group [which includes the Plaintiffs in this action].
                         6.      Absent further order of this Court, litigation commenced by the filing of
                 any complaint . . . shall automatically be stayed in the applicable state court(s) where
                 such complaint(s) are filed, or if not automatic in such state court(s), then application for
                 the stay in accordance with the provisions of this Order shall be made by the Original
                 Plaintiff Group . . . ; provided, however, that during such stay, any party . . . that files
                 such a complaint may: (a) consistent with governing rules, amend such complaint;
                 (b) complete service of such complaint; and (c) take such steps, including immediately

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   relevant portion attached as Neier Decl. Ex. B. Plaintiffs hereby request that the Court stay the

   time for the defendants to respond to the Complaint until the earliest of October 31, 2011

   (without prejudice to any further motion by Plaintiffs to seek a later date or otherwise extend the

   stay), such time as the Bankruptcy Court confirms a plan of reorganization, or further Order of

   the Bankruptcy Court or this Court.3 Such a stay would be an appropriate and sensible exercise

   of this Court’s discretion.

                       First, the SLCFC Order requires that this litigation be temporarily stayed. Neier

   Decl. Ex. C, ¶ 6. While Plaintiffs were permitted to initiate suit against the defendants to toll any

   applicable statute of limitations, Chief Judge Carey has not yet ruled on certain objections to the

   debtors’ plan of reorganization that could impact the Creditor SLCFC Claims. Rather,

   recognizing that the Bankruptcy Court’s confirmation of a plan of reorganization, and resolution

   of objections thereto, have the possibility of affecting Plaintiffs’ claims, see Neier Decl. Ex. B at

   100-01, the Bankruptcy Court ordered that Plaintiffs’ cases be stayed subsequent to their

   commencement, see Neier Decl. Ex. C, ¶ 6. Plaintiffs respectfully submit that this determination

   should be accorded due deference by this Court.

                       Second, Plaintiffs intend to file a motion in the next several weeks requesting that

   the Judicial Panel on Multidistrict Litigation (the “MDL Panel”) transfer and consolidate this



                pursuing discovery, as are necessary solely for the purpose of preventing applicable
                statutes of limitations or other time-related defenses from barring any Creditor SLCFC
                Claims.
                       8.     Nothing in this Order shall prejudice or impair any claims or defenses of
                any defendant in any proceeding in respect of a Creditor SLCFC Claim . . . .
            3
        Plaintiffs also request that when the stay is lifted, the Court set a schedule for the
   defendants to answer the Complaint or otherwise move, and for Plaintiffs to file briefs in
   opposition thereto.


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   action along with the other Creditor SLCFC Claims Plaintiffs filed in federal courts across the

   country against other Tribune shareholders who received proceeds from the LBO (the “MDL

   Motion”).4 Neier Decl. ¶ 17. This Court can properly exercise its discretion to hold this action

   in abeyance while the MDL Motion is resolved. Under these circumstances, the stay promotes

   judicial economy and efficiency, will not prejudice parties, and is moderate in duration. Absent

   MDL consolidation, numerous federal district courts will need to individually adjudicate

   numerous duplicative motions and discovery disputes involving common questions of fact and

   law, all arising out of the single LBO transaction. By temporarily staying this action, the Court

   can prevent unnecessary expenditure of time and resources.

                  While the stay will obviate the need for the defendants to answer or otherwise

   respond to the Complaint, or otherwise engage in any substantive litigation of the merits,

   Plaintiffs may require the ability during the pendency of the stay to engage in limited discovery

   from the defendants and third parties to ensure that former shareholders of Tribune who are

   subject to suit in this action are identified, properly named in the Complaint, and effectively

   served with process. The SLCFC Order specifically contemplated the potential need for such

   discovery and provided that, notwithstanding the stay, Plaintiffs be permitted to conduct

   discovery limited in scope to these jurisdictional and procedural matters, as well as to amend the

   Complaint. Neier Decl. Ex. C, ¶ 6.




            4
          On June 13, 2011, Plaintiffs filed a motion before the Bankruptcy Court seeking
   confirmation that the stay provisions in the SLCFC Order do not prevent Plaintiffs from
   requesting that the MDL Panel consolidate and transfer all of Plaintiffs’ federally filed cases.
   Neier Decl. ¶ 15. On June 28, 2011, the Bankruptcy Court granted Plaintiffs’ motion to clarify
   that the automatic stay does not prohibit Plaintiffs from making the MDL Motion or from taking
   all appropriate steps to enforce the stay mandated by the SLCFC Order. Id. ¶ 16.


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                  Therefore, Plaintiffs request an order that expressly carves out of the stay the

   ability for Plaintiffs to make a future motion before the Court to seek limited early discovery

   pursuant to Federal Rule of Civil Procedure 26(d)(1), as well as permits Plaintiffs to amend the

   Complaint pursuant to Rule 15 and, if appropriate, add, drop, or sever parties or claims by use of

   Rules 21 or 41(a). Plaintiffs also request that the Court, notwithstanding the stay, require that the

   defendants or their counsel enter an appearance in the action, so that the defendants or their

   counsel will be known and can readily be served with any further notices, orders, or other

   pleadings in the case.

                  In the event that the Court denies this motion, Plaintiffs respectfully request that

   the Court order that the time for any motions to dismiss be deferred until after the parties have

   convened for a case management conference and the Court has entered a case management

   order. Given the complexity of this action (especially when considered along with the number of

   defendants, including class action defendants, in related actions nationwide), the parties and the

   Court would benefit from postponing motion practice in response to the Complaint until a

   coordinated and practical briefing schedule has been established.

                                     FACTUAL BACKGROUND

   A.       The Tribune Bankruptcy Proceeding and the Competing Plans of Reorganization

                  On or about April 1, 2007, the board of directors of Tribune approved the LBO,

   which resulted in the transfer of ownership of Tribune and its subsidiaries to a newly formed

   employee stock ownership plan. Compl. ¶ 56. “Step One” of the LBO closed on June 4, 2007,

   at which time certain shareholders received approximately $4.3 billion in exchange for their

   shares of Tribune stock. Id. ¶ 6. “Step Two” of the LBO was completed in December 2007, at

   which time certain shareholders received approximately $4.0 billion in exchange for their shares

   of Tribune common stock. Id.
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                  A year later, Tribune and many of its operating subsidiaries (collectively the

   “Debtors”) jointly filed for bankruptcy. Id. ¶ 107. Upon the December 8, 2008 petition date,

   Bankruptcy Code section 546(a) afforded the Debtors’ estates a two-year period in which they

   had the exclusive right, to the exclusion of Plaintiffs and other creditors, to commence state law

   fraudulent conveyance claims. See, e.g., In re Integrated Agri, Inc., 313 B.R. 419, 427-28

   (Bankr. C.D. Ill. 2004).

                  On November 1, 2010, with leave of the Bankruptcy Court and on behalf of the

   Debtors’ estates, the Official Committee of Unsecured Creditors (the “Committee”) initiated an

   adversary proceeding against, inter alia, all of Tribune’s shareholders who received proceeds

   from the LBO, including the defendants in the instant action, alleging that the LBO was an

   intentional fraudulent conveyance (the “Committee Action”) (Official Committee of Unsecured

   Creditors of Tribune Co. v. FitzSimons, Adv. Pro. No. 10-54010 (KJC) (Del. Bankr.)). The

   Committee Action does not include state law constructive fraudulent conveyance claims against

   shareholders to recover Step One and Step Two transfers. The statutory period during which the

   Debtors had exclusive standing to bring state law constructive fraudulent conveyance claims

   expired on December 8, 2010 (two years after the petition date), at which time Plaintiffs, and

   other creditor parties, regained their ability to commence such actions on their own behalf. Neier

   Decl. ¶ 3.

                  On February 4, 2011, the Debtors, the Committee, and certain lender parties in

   interest filed their Second Amended Joint Plan of Reorganization for the Debtors (the “DCL

   Plan”). Id. ¶ 4. On February 25, 2011, the largest noteholder of the Debtors, and Plaintiffs

   herein, filed a competing plan of reorganization (the “Noteholder Plan” and together with the

   DCL Plan, the “Competing Plans”). Id. Both Competing Plans included a mechanism by which


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   state law constructive fraudulent conveyance claims, such as those asserted in this action, could

   be transferred to and litigated by a Creditors’ Trust, and proceeds from such actions would flow

   to beneficiaries according to terms of the Competing Plans. Id. ¶ 5. The Robert R. McCormick

   Tribune Foundation and the Cantigny Foundation (together, the “Plan Opponents”) objected to

   both of the Competing Plans because they claimed that “(a) the proposed Creditors’ Trust would

   not have standing to bring the Constructive Fraud Claims against the selling Shareholders, and

   (b) section 546(e)’s safe harbor provision preempts all attempts to assert the Constructive Fraud

   Claims.” Id. ¶ 6.

                   The Bankruptcy Court held a two-week trial on the Competing Plans of

   reorganization, and closing argument occurred on June 27, 2011. Id. ¶ 8.

   B.       The SLCFC Order and Commencement of Plaintiffs’ 50 Actions

                   Assuming arguendo that Plaintiffs’ Creditor SLCFC Claims are subject to a four-

   year statute of limitations period applicable in certain states, the time for filing suit against

   defendants who received the “Step One” transfers would arguably have expired on or shortly

   after June 4, 2011. On March 1, 2011, to prevent state law causes of action from arguably

   becoming time-barred while the litigation over the Competing Plans continued in front of Chief

   Judge Carey, Plaintiffs moved the Bankruptcy Court for an order (i) determining that eligible

   creditors regained the right to prosecute the Creditor SLCFC Claims because the statute of

   limitations for the Debtors to commence state law fraudulent conveyance actions expired on

   December 8, 2010, and the Debtors’ estates failed to assert such claims; (ii) determining that the

   automatic stay does not bar commencement of the Creditor SLCFC Claims by Plaintiffs; and

   (iii) granting leave from a mediation order by the Bankruptcy Court to permit commencement of

   the Creditor SLCFC Claims (the “Standing Motion,” attached as Neier Decl. Ex. A). On April

   25, 2011, the Bankruptcy Court granted the Standing Motion and issued the SLCFC Order
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   permitting Plaintiffs to commence state law constructive fraudulent conveyance litigations, and

   pursue discovery as necessary to prevent any applicable statute of limitations or time-related

   defenses from barring Plaintiffs’ claims – provided that Plaintiffs filed an application for a stay

   after the litigation commenced. See Neier Decl. Ex. C, ¶¶ 2-4, 6. At oral argument on the

   Standing Motion, Judge Carey stated:

                  I would be willing to say, to the extent the [Bankruptcy Code
                  section 362 automatic] stay does apply, it’s lifted, solely to permit
                  the commencement of such [state law] litigation. But I would like
                  the memorialization, until further order of the Court … that no
                  litigation should be pursued or prosecuted, because I am concerned
                  about whether there would be implications with respect to any
                  decision I might make in connection with confirmation of a plan,
                  and I want to reserve, to myself and to the parties who have objected
                  to confirmation, to make whatever arguments they have to make
                  without being hampered by an order that I’m entering here. I don’t
                  mean to dispose of any of those rights.

   Neier Decl. Ex. B, at 100-01 (emphasis added).

                  On June 2, 2011, Plaintiffs commenced this action, and are now in the process of

   serving the defendants with the Complaint.5 Neier Decl. ¶ 13. Plaintiffs also filed

   49 substantially similar complaints, commencing suits in 21 other states. All of the lawsuits

   were filed in federal district courts, with the exception of ten cases filed in New York, Delaware,

   and California state court.6 Id. The litigations in the other states, like here, include constructive

   fraudulent conveyance claims against named defendants, as well as in some cases claims against


            5
          Plaintiffs have mailed the defendants copies of the Complaint, along with requests that the
   defendants waive service of the summons pursuant to Fed. R. Civ. P. 4(d). The defendants’ time
   to return the waiver of service forms has not yet expired.
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         Plaintiffs were required to file multiple suits within certain jurisdictions, including this
   jurisdiction, because in some circumstances Plaintiffs’ counsel were conflicted from suing
   particular defendants, and it was thus necessary to initiate separate litigations prosecuted by
   different counsel.


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   a defendant class. Plaintiffs intend to move for transfer and consolidation of the federal cases

   before the MDL Panel so they can respond in a coordinated rather than piecemeal way to what

   will be numerous similar motions filed by the more than 1,000 defendants. Id. ¶¶ 14-16.

                                             ARGUMENT

                   Staying defendants’ time to respond to the Complaint for approximately four

   months – while the Tribune Bankruptcy Proceeding concludes litigation over plan confirmation

   and Plaintiffs’ forthcoming MDL Motion is pending – is well within this Court’s sound

   discretion. “It is well-established that ‘the power to stay proceedings is incidental to the power

   inherent in every court to control the disposition of the causes on its docket with economy of

   time and effort for itself, for counsel, and for litigants.’” Wyeth v. Abbott Laboratories, No. 09-

   4850 (JAP), 2011 WL 380902, at *1 (D.N.J. Feb. 1, 2011) (quoting Landis v. North Am. Co., 299

   U.S. 248, 254 (1936)). District courts have broad discretion to stay proceedings “so as to

   promote fair and efficient adjudication.” Hertz Corp. v. The Gator Corp., 250 F. Supp. 2d 421,

   425 (D.N.J. 2003) (quoting U.S. v. Breyer, 41 F.3d 884, 893 (3d Cir.1994) (quotations omitted)).

   The requested stay is appropriate and should be granted.

   A.       The Litigation Over Tribune’s Plan Confirmation Substantially Impacts This
            Action, and the SLCFC Order Requiring a Stay Should Be Given Due Deference

                   Courts recognize that a stay is appropriate where, as here, another pending matter

   could have a substantial impact on that litigation. Bechtel Corp. v. Local 215, Laborers’ Int’l

   Union, 544 F.2d 1207, 1214 (3d Cir. 1976) (“In the exercise of sound discretion, a court may

   hold one lawsuit in abeyance to abide the outcome of another which may substantially affect it or

   be dispositive of the issues.”). The connection between the Bankruptcy Court’s pending

   determination of the Plan Opponents’ objection, and the Creditor SLCFC Claims asserted here,

   justifies the stay.

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                  The Plan Opponents submit that neither of the Competing Plans can be confirmed

   because they provide for the litigation of the Creditor SLCFC Claims, which according to the

   Plan Opponents violate provisions of the Bankruptcy Code. Neier Decl. ¶ 7. Specifically, the

   Plan Opponents argue that Plaintiffs lack standing to bring the Creditor SLCFC Claims because

   the Debtors retained the exclusive ability to attack the LBO payments to the shareholders when

   the Committee Action was brought on the Debtors’ behalf. Id. Moreover, the Plan Opponents

   object to the Competing Plans based on their belief that Bankruptcy Code section 546(e) bars

   state law causes of action to recover payments to stockholders in exchange for the transfer of

   securities. Id. Plaintiffs believe that the Plan Opponents are wrong on all counts, and have

   challenged the objection in the Bankruptcy Proceeding. However, given the potential impact of

   the plan confirmation process on the Creditor SLCFC Claims, a stay of this action pending a

   determination of the Plan Opponents’ objection is the most prudent course of action.

                  Chief Judge Carey recognized the potential for plan litigation to impact Plaintiffs’

   ability to successfully prosecute the Creditor SLCFC Claims. Yet, the Bankruptcy Court

   recognized that these causes of action should not be allowed to become time-barred during the

   period required for the Bankruptcy Court to confirm a plan of reorganization. Neier Decl. Ex. C,

   ¶¶ 2-3; see also Neier Decl. Ex. B, at 100-01. Therefore, the SLCFC Order requires that a

   “[State Shareholder Avoidance Action] commenced by the filing of any complaint . . . shall

   automatically be stayed in the applicable state court(s) where such complaint(s) are filed, or if

   not automatic in such state court(s), then application for the stay in accordance with the

   provisions of this Order shall be made by the [] Plaintiff Group or any other creditor that files its

   own complaint.” See Neier Decl. Ex. C, ¶ 6. Plaintiffs, therefore, request that this Court

   recognize the SLCFC Order and defer to Chief Judge Carey’s determination that this action


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   should be held in abeyance while the related litigation over the Competing Plans and the Plan

   Opponents’ objection is resolved.

   B.       The Stay Is Appropriate Given Plaintiffs’ Forthcoming MDL Motion

                  Plaintiffs intend to file their MDL Motion to consolidate and transfer the nearly

   40 cases Plaintiffs commenced in numerous federal jurisdictions for coordinated pretrial

   treatment pursuant to 28 U.S.C. § 1407. Neier Decl. ¶ 17. Federal courts routinely determine

   that it is appropriate to stay preliminary pretrial proceedings while a motion to transfer is

   pending before the MDL Panel. See Hertz Corp., 250 F. Supp. at 428 (granting motion to stay

   proceedings pending MDL Panel’s resolution of transfer motion); Good v. Prudential Ins. Co. of

   Am., 5 F. Supp. 2d 804, 809 (N.D. Cal. 1998) (“Courts frequently grant stays pending a decision

   by the MDL Panel”). The factors relevant to deciding whether to grant a stay strongly favor

   issuance of the stay here. See McDonald v. Novartis Pharmaceuticals Corp., No. 07-655, 2007

   WL 4191750, at *1 (D.N.J. Nov. 20, 2007) (noting that “[a]mong the factors that courts take into

   account when assessing the suitability of issuing a stay are ‘whether a stay will simplify issues

   and promote judicial economy, the balance of harm to the parties, and the length of the [] stay’”)

   (citation omitted).

            1.    The Stay Will Conserve Judicial Resources

                  Entry of the stay will conserve judicial resources because Plaintiffs believe that

   the MDL Motion is likely to be granted. Thus, pre-consolidation proceedings in the coordinated

   cases will be rendered duplicative and inefficient. Plaintiffs expect the MDL Motion to be

   granted because, as the MDL Panel has recognized, consolidation is appropriate where actions

   “raise common factual questions” arising out of similar events. In re CitiFinancial Servs. Inc.

   Prescreened Offer Litig., 474 F. Supp. 2d 1359 (J.P.M.L. 2007) (centralizing cases involving

   different and non-overlapping plaintiff classes where all of the actions arose out of the same
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   challenged practices); see also In re Ford Motor Co. Crown Victoria Police Interceptor Prods.

   Liab. Litig., 229 F. Supp. 2d 1377 (J.P.M.L. 2002); 28 U.S.C. § 1407 (providing for

   centralization of “civil actions involving one or more common questions of fact”). Here, absent

   centralization there will be nearly 40 actions proceeding in numerous federal district courts

   involving identical factual allegations and claims, and encompassing individual defendants and

   putative classes of similarly situated parties across the country, all of whom cashed out their

   Tribune stock, or otherwise received proceeds, in connection with a single LBO.

                  Granting the requested stay will, by definition, conserve judicial resources. See

   Rivers v. The Walt Disney Co., 980 F. Supp. 1358, 1361-62 (C.D. Cal 1997). If this Court

   expends resources on this case while the MDL Panel is considering a transfer motion and the

   transfer subsequently occurs, the Court “will have needlessly expended its energies familiarizing

   itself with the intricacies of a case that would be heard by another judge.” Id. In the same vein,

   efforts “concerning case management will most likely have to be replicated by the [transferee]

   judge.” Id. Another strong consideration favoring centralization is the specter of conflicting

   decisions regarding class certification. See e.g., In re NorthStar Educ. Fin. Inc., 588 F. Supp. 2d

   1370 (J.P.M.L. 2008) (consolidating actions to prevent inconsistent pretrial rulings especially

   because of class certification issues). Thus, stays are frequently granted pending a decision by

   the MDL Panel to transfer a case not only in the interest of judicial economy, but to avoid

   inconsistent results. Hertz Corp., 250 F. Supp. 2d at 425; Weinke v. Microsoft Corp., 84 F. Supp.

   2d 989, 990 (E.D. Wis. 2000). Therefore, where, as here, the MDL Panel is expected to rule on

   the transfer of actions, and the instant case is only in its very preliminary stages, judicial

   economy and the conservation of resources weigh overwhelmingly in favor of a stay.




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            2.    The Balance of Harms Favors Granting the Requested Stay

                  As courts have recognized, failure to stay one of multiple actions pending

   determination of an MDL Motion imposes unnecessary burden and hardship on the party

   required to litigate in multiple forums. See Nielson v. Merck & Co., No. C07-00076 (MJJ), 2007

   WL 806510, at *2 (N.D. Cal. 2007) (noting prejudice to defendant “from being forced to litigate

   the same jurisdictional issue in multiple forums”). These same considerations compel a stay

   here. It would impose substantial hardship on Plaintiffs to litigate motions to dismiss, motions

   for class certification, and other pretrial motions in as many as 20 jurisdictions. Moreover, the

   risk of conflicting rulings on these issues could be prejudicial to Plaintiffs.

                  On the other hand, the defendants will not be prejudiced if this Court enters the

   requested stay. To the contrary, the defendants should have no less reason than Plaintiffs to

   avoid duplicative, wasteful, and potentially conflicting pretrial proceedings. See In re Upjohn

   Co. Antibiotic Cleocin Prods. Liab. Litig., 81 F.R.D. 482, 486-87 (E.D. Mich. 1979) (requiring

   transferee court to harmonize inconsistent pretrial orders after consolidation); Rivers, 980 F.

   Supp. at 1361 (transfer of multiple actions would potentially subject any pretrial rulings already

   made in the transferor court to be reconsidered by the transferee court). Absent a concern that a

   stay would result in the dissipation of assets, loss of evidence or other similarly severe

   consequences, parties should not be prejudiced by a stay of the litigation.

                  Moreover, the stay requested by Plaintiffs is permissible because the stay “is of

   ‘moderate length, and not [] of indefinite duration which requires a party to take affirmative steps

   for dissolution.’” Cheyney State Coll. Faculty v. Hufstedler, 703 F.2d 732, 738 (3d Cir. 1983).

   The stay is expected to last up to four months, until the earliest of October 31, 2011,




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   confirmation of a plan of reorganization by the Bankruptcy Court, or further order of the

   Bankruptcy Court or this Court.7 Stays of similar duration have been granted. See, e.g., Hertz

   Corp., 250 F. Supp. at 428 (granting stay where MDL Panel hearing was several weeks away and

   decision on the MDL consolidation motion was likely months away); Resco Products, Inc. v.

   Bosai Miner Groups Co., No. 06-235, 2010 U.S. Dist. LEXIS 54949 (W.D. Pa. June 4, 2010); cf.

   SmithKlineBeecham Corp. v. Apotex Corp., No. 99-CV-4304, 2004 U.S. LEXIS 13904, at *33-

   34 (E.D. Pa. July 16, 2004) (length of stay was unstated but parties agreed to submit status

   reports every six months).

   C.           Plaintiffs Should Be Permitted During the Stay to File a Rule 26(d)(1)
                Motion Seeking Leave to Conduct Limited Discovery to Confirm That All
                Proper Parties Have Been Identified, Named, and Served With Process

                      It is imperative that Plaintiffs be allowed during the pendency of the stay to

   conduct limited discovery, if necessary, on the defendants and third parties, to ensure that each

   shareholder subject to the Court’s jurisdiction who received a cash transfer on account of the

   LBO is identified, properly named in the action, and provided with effective service of process.

   Therefore, if warranted, Plaintiffs intend to seek at some future date authority from the Court

   under Federal Rule of Civil Procedure 26(d)(1) for such discovery to be conducted during the

   stay and prior to the Rule 26(f) conference between the parties. Plaintiffs thus ask that the Court

   structure the stay to provide Plaintiffs leave to file a Rule 26(d)(1) motion in order to make the

   requisite showing for limited discovery at a future time if necessary. While Plaintiffs utilized the

   best information available regarding the shareholder parties to the LBO in order to initiate this



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         If it appears that the plan confirmation issues relating to the Creditor SLCFC Claims will
   remain unresolved by the Bankruptcy Court by October 31, 2011, Plaintiffs reserve the right to
   seek to extend the stay.


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   action, toll any applicable statute of limitations, and effectuate service, further discovery may be

   required at the outset of this case to confirm that all proper parties have been accurately named

   and served. Thus, even if the stay is granted, Plaintiffs ask that the Court require the defendants

   to enter an appearance in the case, such that the defendants or their counsel are known and can

   be served with further notices, orders, or pleadings in this action.

                  As described above, on April 25, 2011, Plaintiffs received leave of the

   Bankruptcy Court to assert the Creditor SLCFC Claims and confirmation that initiating this

   action would not violate the automatic stay provisions under Bankruptcy Code section 362(a).

   Neier Decl. Ex. C. On April 29, 2011, Plaintiffs subpoenaed the Committee to obtain access to

   information regarding the identities of the shareholders who received cash transfers pursuant to

   the LBO, their locations, and the amount of the cash transfers the shareholders received. Neier

   Decl. ¶ 12. The Committee had previously collected this information by issuing over 1,600

   subpoenas in November 2010 to more than 900 separate entities.8 Id. Plaintiffs received this

   voluminous amount of data from the Committee only about eight days before the filing of the

   Creditor SLCFC Claims.

                  Because the Committee provided the requisite information approximately one

   week before Plaintiffs filed the Complaint, and Plaintiffs understand that the Committee is still

   receiving new and updated information regarding the identities of these shareholders and other

   relevant information, Plaintiffs may require the opportunity to conduct limited discovery of the

   defendants and third parties to confirm that all shareholders, or parties who received proceeds in


            8
         The Committee’s data regarding the identities of the shareholders, their location, and the
   quantum of cash transferred to each shareholder was subject to confidentiality agreements the
   Committee entered into with certain shareholder parties, as well as the Protective Order entered
   by the Bankruptcy Court on May 19, 2011.


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   the LBO, subject to suit in this action have been identified, properly named in the Complaint,

   and effectively provided with service of process. Id. Plaintiffs believe that such discovery

   should be permitted during the requested stay and is appropriate under Rule 26(d)(1), as it

   addresses threshold matters such as jurisdiction and proper service of process, and is not

   burdensome in scope. See Fed. R. Civ. P. 26(d)(1) (“A party may not seek discovery from any

   source before the parties have conferred as required by Rule 26(f), except . . . when authorized

   by these rules, by stipulation, or by court order”); see e.g., VPR Int. v. Does 1-17, No. 11-Civ-

   01494 (LB), 2011 WL 1465836 (N.D. Cal. Apr. 15, 2011) (finding that plaintiff showed good

   cause to engage in early discovery to identify proper defendants); Yates v. Portofino Equity &

   Mgmt., No. 08-Civ-00324 (PAB) (MJW), 2009 WL 416441 (D. Colo. Feb. 19, 2009) (granting

   plaintiff’s Rule 26(d)(1) motion to conduct limited discovery in connection with jurisdictional

   issue).

                  The SLCFC Order expressly contemplated that Plaintiffs would engage in such

   discovery during the pendency of the stay, and this provision, like the other components of the

   SLCFC Order, should be afforded due deference. Therefore, for the reasons stated above,

   Plaintiffs request that the Court grant the stay, but expressly carve out from the stay permission

   for Plaintiffs to file a Rule 26(d)(1) motion seeking leave of the Court to conduct early discovery

   limited to the topics that will be set forth in Plaintiffs’ forthcoming Rule 26(d)(1) motion, as well

   as permission for Plaintiffs to amend the Complaint pursuant to Rule 15 and, if appropriate, add,

   drop, or sever parties or claims by use of Rules 21 or 41(a).




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   D.       Should the Court Deny the Stay Motion, Plaintiffs Request That Defendants Be
            Prevented From Filing Any Answers or Other Pleadings Responsive to the
            Complaint Until Such Time as the Parties Have Convened for a Case
            Management Conference and the Court Enters a Case Management Order

                  In the event that the Court denies Plaintiffs’ request for the stay, Plaintiffs request

   that the Court postpone the filing of any answers or dispositive motions by the defendants until

   such time that a case management conference can be convened and an order granting a case

   management schedule entered. In light of the complexity of the action, it would be in the best

   interests of the Court and the parties for briefing on dispositive motions and any other motion

   practice to be conducted pursuant to a case management schedule entered by this Court, as

   opposed to multiple motions to dismiss being litigated piecemeal and without coordination.

                                            CONCLUSION

                  For the foregoing reasons, Plaintiffs request that the Court:

                  (i)     grant Plaintiffs’ motion for a stay of the defendants’ time to answer or

   otherwise respond to the Complaint in this action until the earliest of (a) October 31, 2011, (b)

   order of the Bankruptcy Court confirming a plan of reorganization, or (c) further Order of the

   Bankruptcy Court or this Court;

                  (ii)    order that, notwithstanding the pendency of the stay in this Court,

   Plaintiffs may (a) amend the Complaint or move for leave to amend the Complaint;

   (b) voluntarily dismiss this action or one or more defendants pursuant to Rule 41; (c) move to

   add or drop a party or to sever any claim against a party pursuant to Rule 21; (d) move to

   consolidate and/or coordinate this action with any other action, without limitation, by making a

   motion pursuant to 28 U.S.C. § 1407 and the applicable Rules of Procedure of the MDL Panel,

   or any applicable state rules; (e) file a motion pursuant Rule 26(d)(1) seeking preconference




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   discovery to confirm that parties have been properly identified, named, and served in this action;

   and (f) file a motion seeking modification of this Order; and

                  (iii)   require each defendant to enter an appearance in the action, so that they or

   their counsel are known, and to better facilitate service of further notices, orders, or pleadings

   upon them in the action.

                  In the event that the Court denies Plaintiffs’ requested stay, Plaintiffs ask that,

   prior to any defendant being permitted to answer the Complaint or file an otherwise responsive

   pleading, the Court require that a case management order be entered that provides a briefing

   schedule.

   Dated: Newark, New Jersey
          July 5, 2011

                                                 Respectfully submitted,

                                                 FRIEDMAN KAPLAN SEILER &
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                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY

  ----------------------------------------------------------------x
                                                                  :
  DEUTSCHE BANK TRUST COMPANY                                     :
  AMERICAS, in its capacity as successor indenture :
  trustee for certain series of Senior Notes, et al.,             :   Civil Action No. 11-3148 (WJM)(JAD)
                                                                  :
                                      Plaintiffs,                 :
                                                                  :   [PROPOSED] ORDER STAYING
                    - v. -                                        :   DEFENDANTS’ TIME TO
                                                                  :   ANSWER OR OTHERWISE
  MERRILL LYNCH TRUST COMPANY,                                    :   RESPOND TO THE COMPLAINT
  A DIVISION OF BANK OF AMERICA, N.A.,                            :
  et al.,                                                         :
                                                                  :
                                      Defendants.                 :
                                                                  :
  ----------------------------------------------------------------x

                   THIS MATTER having been brought before the Court by Friedman Kaplan Seiler

  & Adelman LLP, attorneys for plaintiffs Deutsche Bank Trust Company Americas, Law

  Debenture Trust Company of New York, and Wilmington Trust Company, in their capacity as

  successor indenture trustees (collectively, “Plaintiffs”) for an order staying the time for the

  defendants to answer or otherwise respond to the Complaint in this action, and the Court having

  considered the supporting papers and any opposing papers, and for good cause shown,

                   IT IS on this _____ day of ____________ 2011,


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                 ORDERED that defendants’ time to answer or otherwise respond to the

  Complaint in this action is STAYED until the earliest of (a) October 31, 2011, (b) order by the

  United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) in In re

  Tribune Co., No. 08-13141 (KJC), confirming a plan of reorganization, or (c) further Order of

  the Bankruptcy Court or this Court;

                 ORDERED that any applicable deadlines under Federal Rules of Civil Procedure

  23 or 26 or Local Civil Rule 26.1 will also be held in abeyance during the pendency of the stay;

                 ORDERED that notwithstanding the pendency of the stay in this Court,

  (1) Plaintiffs may (a) amend the Complaint or move for leave to amend the Complaint;

  (b) voluntarily dismiss this action or one or more defendants pursuant to Federal Rule of Civil

  Procedure 41; (c) move to add or drop a party or to sever any claim against a party pursuant to

  Federal Rule of Civil Procedure 21; (d) move to consolidate and/or coordinate this action with

  any other action, without limitation, by making a motion pursuant to 28 U.S.C. § 1407 and the

  applicable Rules of Procedure of the U.S. Judicial Panel on Multidistrict Litigation, or any

  applicable state rules; (e) file a motion pursuant Federal Rule of Civil Procedure 26(d)(1) seeking

  preconference discovery to confirm that parties have been properly identified, named, and served

  in this action; and (f) file a motion seeking modification of this Order; and (2) defendants may

  file responses to any motions Plaintiffs make pursuant to this paragraph of this Order;

                 ORDERED that notwithstanding the stay, all defendants or their counsel are

  required to enter an appearance in this case within 30 days after the later of entry of this Order or

  service of the Complaint upon the defendant, without prejudice to any defenses that defendant

  may have;




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                 ORDERED that notwithstanding the stay, any defendant who was not provided

  with notice of Plaintiffs’ motion prior to entry of this Order, because such defendant had not yet

  been served with the Complaint or appeared in the action, may move this Court at any time to

  vacate or modify this Order upon notice to Plaintiffs and all other defendants in this action; and

                 ORDERED that at such time as the stay is lifted or terminates, this Court shall set

  the schedule for answering or otherwise responding to the Complaint, unless the action has been

  transferred to another court for coordinated pretrial proceedings; and

                 ORDERED that within five days from the date of the entry of this Order,

  Plaintiffs shall serve a copy of this Order upon each defendant.




                                                       HON. JOSEPH A. DICKSON, U.S.M.J.




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